Case 2:25-cv-00456-KBH    Document 1-4   Filed 01/27/25   Page 1 of 172




                         EXHIBIT 2
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Case 2:25-cv-00456-KBH   Document 1-4   Filed 01/27/25   Page 40 of 172
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Case 2:25-cv-00456-KBH   Document 1-4   Filed 01/27/25   Page 47 of 172
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                 Case 2:25-cv-00456-KBH                   Document 1-4          Filed 01/27/25         Page 49 of 172

                                                          AFFIDAVIT OF SERVICE

 Case:               Court:                                              County:                             Job:
 241202765           Pennsylvania Court of Common Pleas                  Philadelphia              Filed     12411218
                                                                                                            and   Attested    by the
 Plaintiff / Petitioner:                                                 Defendant / Respondent: Office of Judicial Records
 James Sullivan, Jr., et al                                              SEPTA, et al                31 DEC 2024 09:09 am
 Received by:                                                            For:                                   S. GILLIAM
 Legal-Ease Enterprises                                                  Stampone O'Brien Dilsheimer Law
 To be served upon:
 SEPTA

I, Joselynn Cook, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name / Address:       SEPTA, VIA EMAIL TO: Claimsintake@septa.org
Manner of Service:              Authorized, Dec 30, 2024, 11:46 am EST
Documents:                      Complaint

Additional Comments:
1) Successful Attempt: Dec 30, 2024, 11:46 am EST at VIA EMAIL TO: Claimsintake@septa.org.
Legal Department. Due to COVID closures all service is being accepted via email. Confirmation email attached.




                                             12/30/2024
Joselynn Cook                                Date

Legal-Ease Enterprises
2424 E York Street, Suite 321
Philadelphia, PA 19125




                                                                                                                      Case ID: 241202765
12/30/24, 11:49 AM Case 2:25-cv-00456-KBH
                                      Legal-EaseDocument
                                                Enterprises Mail1-4     Filedof01/27/25
                                                                 - FW: Service Complaint: JamesPage
                                                                                                Sullivan,50
                                                                                                          Jr.,of
                                                                                                              et al172



                                                                            Legal-Ease Enterprises, Inc. <info@legaleasepa.com>



  FW: Service of Complaint: James Sullivan, Jr., et al
  1 message

  Melody Hill <MHill@septa.org>                                                        Mon, Dec 30, 2024 at 11:46 AM
  To: "Legal-Ease Enterprises, Inc." <info@legaleasepa.com>
  Cc: Claims Intake <ClaimsIntake@septa.org>, Samuel Friedman <SFriedman@septa.org>, Stephen Vedro
  <SVedro@septa.org>


    Good Morning,


    Septa hereby accepts service on the attached complaint for Sullivan vs Septa and Septa operator on
    December 30, 2024


    Thank You




    From: Legal-Ease Enterprises, Inc. <info@legaleasepa.com>
    Sent: Friday, December 27, 2024 11:29 AM
    To: Claims Intake <ClaimsIntake@septa.org>
    Subject: Service of Complaint: James Sullivan, Jr., et al


    Good morning,

        Attached is a complaint for service on SEPTA and Robert Milson C/O SEPTA. Please confirm acceptance of service.




    Thank you,

    Joselynn



    Case: 241202765
    Plaintiff: James Sullivan, Jr., et al
    Defendant: SEPTA, et al
    Court: Pennsylvania Court of Common Pleas
    County: Philadelphia




                                                        Legal-Ease Enterprises
                                                           215-535-1532
                                                           www.LegalEasePA.com
                                                           2424 E. York St., Suite 321
                                                           Philadelphia, PA 19125                                     Case ID: 241202765
https://mail.google.com/mail/u/0/?ik=2fbab0faa3&view=pt&search=all&permthid=thread-a:r5485305341596711518%7Cmsg-f:1819884603645621393…   1/2
12/30/24, 11:49 AM Case 2:25-cv-00456-KBH
                                      Legal-EaseDocument
                                                Enterprises Mail1-4     Filedof01/27/25
                                                                 - FW: Service Complaint: JamesPage
                                                                                                Sullivan,51
                                                                                                          Jr.,of
                                                                                                              et al172




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          wZUjI71FE5APdZdqFahlpf6RLIC6_8okGgGT_sSP2d5pxxlrk1nm6Bkuq_yOZzB4Cy.pdf
          764K




                                                                                                                      Case ID: 241202765
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                 Case 2:25-cv-00456-KBH                   Document 1-4          Filed 01/27/25         Page 52 of 172

                                                          AFFIDAVIT OF SERVICE

 Case:               Court:                                              County:                             Job:
 241202765           Pennsylvania Court of Common Pleas                  Philadelphia              Filed     12411218
                                                                                                            and   Attested    by the
 Plaintiff / Petitioner:                                                 Defendant / Respondent: Office of Judicial Records
 James Sullivan, Jr., et al                                              SEPTA, et al                31 DEC 2024 09:10 am
 Received by:                                                            For:                                   S. GILLIAM
 Legal-Ease Enterprises                                                  Stampone O'Brien Dilsheimer Law
 To be served upon:
 Robert Milson

I, Joselynn Cook, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name / Address:       Robert Milson , VIA EMAIL TO: Claimsintake@septa.org
Manner of Service:              Authorized, Dec 30, 2024, 11:46 am EST
Documents:                      Complaint

Additional Comments:
1) Successful Attempt: Dec 30, 2024, 11:46 am EST at VIA EMAIL TO: Claimsintake@septa.org.
Legal Department. Due to COVID closures all service is being accepted via email. Confirmation email attached.




                                             12/30/2024
Joselynn Cook                                Date

Legal-Ease Enterprises
2424 E York Street, Suite 321
Philadelphia, PA 19125




                                                                                                                      Case ID: 241202765
12/30/24, 11:49 AM Case 2:25-cv-00456-KBH
                                      Legal-EaseDocument
                                                Enterprises Mail1-4     Filedof01/27/25
                                                                 - FW: Service Complaint: JamesPage
                                                                                                Sullivan,53
                                                                                                          Jr.,of
                                                                                                              et al172



                                                                            Legal-Ease Enterprises, Inc. <info@legaleasepa.com>



  FW: Service of Complaint: James Sullivan, Jr., et al
  1 message

  Melody Hill <MHill@septa.org>                                                        Mon, Dec 30, 2024 at 11:46 AM
  To: "Legal-Ease Enterprises, Inc." <info@legaleasepa.com>
  Cc: Claims Intake <ClaimsIntake@septa.org>, Samuel Friedman <SFriedman@septa.org>, Stephen Vedro
  <SVedro@septa.org>


    Good Morning,


    Septa hereby accepts service on the attached complaint for Sullivan vs Septa and Septa operator on
    December 30, 2024


    Thank You




    From: Legal-Ease Enterprises, Inc. <info@legaleasepa.com>
    Sent: Friday, December 27, 2024 11:29 AM
    To: Claims Intake <ClaimsIntake@septa.org>
    Subject: Service of Complaint: James Sullivan, Jr., et al


    Good morning,

        Attached is a complaint for service on SEPTA and Robert Milson C/O SEPTA. Please confirm acceptance of service.




    Thank you,

    Joselynn



    Case: 241202765
    Plaintiff: James Sullivan, Jr., et al
    Defendant: SEPTA, et al
    Court: Pennsylvania Court of Common Pleas
    County: Philadelphia




                                                        Legal-Ease Enterprises
                                                           215-535-1532
                                                           www.LegalEasePA.com
                                                           2424 E. York St., Suite 321
                                                           Philadelphia, PA 19125                                     Case ID: 241202765
https://mail.google.com/mail/u/0/?ik=2fbab0faa3&view=pt&search=all&permthid=thread-a:r5485305341596711518%7Cmsg-f:1819884603645621393…   1/2
12/30/24, 11:49 AM Case 2:25-cv-00456-KBH
                                      Legal-EaseDocument
                                                Enterprises Mail1-4     Filedof01/27/25
                                                                 - FW: Service Complaint: JamesPage
                                                                                                Sullivan,54
                                                                                                          Jr.,of
                                                                                                              et al172




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          wZUjI71FE5APdZdqFahlpf6RLIC6_8okGgGT_sSP2d5pxxlrk1nm6Bkuq_yOZzB4Cy.pdf
          764K




                                                                                                                      Case ID: 241202765
https://mail.google.com/mail/u/0/?ik=2fbab0faa3&view=pt&search=all&permthid=thread-a:r5485305341596711518%7Cmsg-f:1819884603645621393…   2/2
Case 2:25-cv-00456-KBH   Document 1-4   Filed 01/27/25   Page 55 of 172


                                                      Filed and Attested by the
                                                     Office of Judicial Records
                                                         09 JAN 2025 02:20 pm
                                                             K. KALOGRIAS




                                                                  Case ID: 241202765
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                                                      Filed and Attested by the
                                                     Office of Judicial Records
                                                         09 JAN 2025 02:22 pm
                                                             K. KALOGRIAS




                                                                  Case ID: 241202765
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                                                      Filed and Attested by the
                                                     Office of Judicial Records
                                                         09 JAN 2025 02:24 pm
                                                             K. KALOGRIAS




                                                                  Case ID: 241202765
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                                                      Filed and Attested by the
                                                     Office of Judicial Records
                                                         09 JAN 2025 02:25 pm
                                                             K. KALOGRIAS




                                                                  Case ID: 241202765
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                                                      Filed and Attested by the
                                                     Office of Judicial Records
                                                         09 JAN 2025 02:27 pm
                                                             K. KALOGRIAS




                                                                  Case ID: 241202765
Case 2:25-cv-00456-KBH   Document 1-4   Filed 01/27/25   Page 60 of 172


                                                      Filed and Attested by the
                                                     Office of Judicial Records
                                                         09 JAN 2025 02:29 pm
                                                             K. KALOGRIAS




                                                                  Case ID: 241202765
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                                                      Filed and Attested by the
                                                     Office of Judicial Records
                                                         14 JAN 2025 02:58 pm
                                                               C. SMITH




                                                                  Case ID: 241202765
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                                                                  Case ID: 241202765
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                                                                  Case ID: 241202765
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                                                      Filed and Attested by the
                                                     Office of Judicial Records
                                                         16 JAN 2025 02:18 pm
                                                               C. SMITH




                                                                    Case ID: 241202765
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                                                                    Case ID: 241202765
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                                                                    Case ID: 241202765
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                                                                    Case ID: 241202765
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                                                                    Case ID: 241202765
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                                                                    Case ID: 241202765
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                                                                    Case ID: 241202765
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                                                                    Case ID: 241202765
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                                                                     Case ID: 241202765
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                                                                      Case ID: 241202765
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                                                                   Case ID: 241202765
     Case 2:25-cv-00456-KBH    Document 1-4    Filed 01/27/25   Page 77 of 172




THOMAS, THOMAS & HAFER LLP                 Attorney for Defendant,
                                                             Filed and Attested by the
By: Benjamin C. Frommer, Esquire           Bryner Chevrolet,Office
                                                             Inc. d/b/a
                                                                    of Judicial Records
Attorney Identification No. 319993         Bryner Chevrolet     21 JAN 2025 01:10 pm
By: Chelsea A. Williams, Esquire                                      S. GILLIAM
Attorney Identification No. 329562
1600 JFK Boulevard
Four Penn Center, Suite 1060
Philadelphia, PA 19103
(267) 861-7585 / (267) 861-7599
bfrommer@tthlaw.com / cwilliams@tthlaw.com


JAMES SULLIVAN, JR., ADMINISTRATOR         COURT OF COMMON PLEAS
OF THE ESTATE OF JOHN MICHAEL              PHILADELPHIA COUNTY
SULLIVAN,
                                           NO.: 241202765
             Plaintiff,

v.                                         CIVIL ACTION

META PLATFORMS, INC. F/K/A
FACEBOOK, INC., FACEBOOK
HOLDINGS, LLC, FACEBOOK
OPERATIONS, LLC, FACEBOOK
PAYMENTS, INC., FACEBOOK
TECHNOLOGIES, LLC, INSTAGRAM, LLC,
SNAP, INC., JOHN DOE INC. 1-5, JOHN
DOE CORP. 1-5, SOUTHEASTERN
PENNSYLVANIA TRANSIT AUTHORITY
A/K/A SEPTA, ROBERT MILSON, BRYNER
CHEVROLET, INC. D/B/A BRYNER
CHEVROLET, DBP PARTNERS, LP, DB
PETE, INC., JOHN DOE INC. 5-10, JOHN
KENNEDY FORD OF JENKINTOWN,
HOPKINS FORD, INC., KENNEDY REAL
ESTATE ASSOCIATES, LP, KENNEDY
REAL ESTATE ASSOCIATES
MANAGEMENT, LLC and JOHN DOE
COPR. 5-10,

             Defendants.


                            ENTRY OF APPEARANCE




                                                                           Case ID: 241202765
     Case 2:25-cv-00456-KBH         Document 1-4       Filed 01/27/25      Page 78 of 172




       Please enter the appearances of Benjamin C. Frommer, Esquire and Chelsea A. Williams,

Esquire, as attorneys for Defendant, Bryner Chevrolet, Inc. d/b/a Bryner Chevrolet, in the above-

captioned matter.

                                                    THOMAS, THOMAS & HAFER LLP

Dated: 01/21/2025                           By:     /s/ Benjamin C. Frommer
                                                    Benjamin C. Frommer, Esquire
                                                    Attorney for Defendant
                                                    Bryner Chevrolet, Inc. d/b/a Bryner
                                                    Chevrolet




                                                                                          Case ID: 241202765
     Case 2:25-cv-00456-KBH    Document 1-4     Filed 01/27/25   Page 79 of 172




THOMAS, THOMAS & HAFER LLP                 Attorney for Defendant,
By: Benjamin C. Frommer, Esquire           Bryner Chevrolet, Inc. d/b/a
Attorney Identification No. 319993         Bryner Chevrolet
By: Chelsea A. Williams, Esquire
Attorney Identification No. 329562
1600 JFK Boulevard
Four Penn Center, Suite 1060
Philadelphia, PA 19103
(267) 861-7585 / (267) 861-7599
bfrommer@tthlaw.com / cwilliams@tthlaw.com


JAMES SULLIVAN, JR., ADMINISTRATOR          COURT OF COMMON PLEAS
OF THE ESTATE OF JOHN MICHAEL               PHILADELPHIA COUNTY
SULLIVAN,
                                            NO.: 241202765
             Plaintiff,

v.                                          CIVIL ACTION

META PLATFORMS, INC. F/K/A
FACEBOOK, INC., FACEBOOK
HOLDINGS, LLC, FACEBOOK
OPERATIONS, LLC, FACEBOOK
PAYMENTS, INC., FACEBOOK
TECHNOLOGIES, LLC, INSTAGRAM, LLC,
SNAP, INC., JOHN DOE INC. 1-5, JOHN
DOE CORP. 1-5, SOUTHEASTERN
PENNSYLVANIA TRANSIT AUTHORITY
A/K/A SEPTA, ROBERT MILSON, BRYNER
CHEVROLET, INC. D/B/A BRYNER
CHEVROLET, DBP PARTNERS, LP, DB
PETE, INC., JOHN DOE INC. 5-10, JOHN
KENNEDY FORD OF JENKINTOWN,
HOPKINS FORD, INC., KENNEDY REAL
ESTATE ASSOCIATES, LP, KENNEDY
REAL ESTATE ASSOCIATES
MANAGEMENT, LLC and JOHN DOE
COPR. 5-10,

             Defendants.


                           CERTIFICATE OF SERVICE




                                                                            Case ID: 241202765
    Case 2:25-cv-00456-KBH         Document 1-4      Filed 01/27/25     Page 80 of 172




       I, Benjamin C. Frommer, Esquire, do hereby certify that a true and correct copy of the

foregoing Entry of Appearance was filed this date via the Philadelphia County Court of Common

Pleas E-Filing System and thereby deemed served on all counsel of record pursuant to the

Pennsylvania Rules of Civil Procedure and Philadelphia County Local Rules.

                                                  THOMAS, THOMAS & HAFER LLP

Dated: 01/21/2025                          By:    /s/ Benjamin C. Frommer
                                                  Benjamin C. Frommer, Esquire
                                                  Attorney for Defendant
                                                  Bryner Chevrolet, Inc. d/b/a Bryner
                                                  Chevrolet




                                                                                        Case ID: 241202765
     Case 2:25-cv-00456-KBH    Document 1-4    Filed 01/27/25   Page 81 of 172




THOMAS, THOMAS & HAFER LLP                 Attorney for Defendants,
                                                             Filed and Attested by the
By: Benjamin C. Frommer, Esquire           Bryner Chevrolet,Office
                                                             Inc. d/b/a
                                                                    of Judicial Records
Attorney Identification No. 319993         Bryner Chevrolet and22 JAN 2025 05:23 pm
By: Chelsea A. Williams, Esquire           DBP Partners, LP           S. GILLIAM
Attorney Identification No. 329562
1600 JFK Boulevard
Four Penn Center, Suite 1060
Philadelphia, PA 19103
(267) 861-7585 / (267) 861-7599
bfrommer@tthlaw.com / cwilliams@tthlaw.com


JAMES SULLIVAN, JR., ADMINISTRATOR         COURT OF COMMON PLEAS
OF THE ESTATE OF JOHN MICHAEL              PHILADELPHIA COUNTY
SULLIVAN,
                                           NO.: 241202765
             Plaintiff,

v.                                         CIVIL ACTION

META PLATFORMS, INC. F/K/A
FACEBOOK, INC., FACEBOOK
HOLDINGS, LLC, FACEBOOK
OPERATIONS, LLC, FACEBOOK
PAYMENTS, INC., FACEBOOK
TECHNOLOGIES, LLC, INSTAGRAM, LLC,
SNAP, INC., JOHN DOE INC. 1-5, JOHN
DOE CORP. 1-5, SOUTHEASTERN
PENNSYLVANIA TRANSIT AUTHORITY
A/K/A SEPTA, ROBERT MILSON, BRYNER
CHEVROLET, INC. D/B/A BRYNER
CHEVROLET, DBP PARTNERS, LP, DB
PETE, INC., JOHN DOE INC. 5-10, JOHN
KENNEDY FORD OF JENKINTOWN,
HOPKINS FORD, INC., KENNEDY REAL
ESTATE ASSOCIATES, LP, KENNEDY
REAL ESTATE ASSOCIATES
MANAGEMENT, LLC and JOHN DOE
COPR. 5-10,

             Defendants.


                            ENTRY OF APPEARANCE




                                                                           Case ID: 241202765
     Case 2:25-cv-00456-KBH         Document 1-4       Filed 01/27/25     Page 82 of 172




       Please enter the appearances of Benjamin C. Frommer, Esquire and Chelsea A. Williams,

Esquire, as attorneys for Defendant, DBP Partners, LP, in the above-captioned matter.

                                                   THOMAS, THOMAS & HAFER LLP

Dated: 01/22/2025                           By:    /s/ Benjamin C. Frommer
                                                   Benjamin C. Frommer, Esquire
                                                   Attorney for Defendants,
                                                   Bryner Chevrolet, Inc. d/b/a Bryner
                                                   Chevrolet and DBP Partners, LP

                                            By:    /s/Chelsea A. Williams
                                                   Benjamin C. Frommer, Esquire
                                                   Attorney for Defendants,
                                                   Bryner Chevrolet, Inc. d/b/a Bryner
                                                   Chevrolet and DBP Partners, LP




                                                                                         Case ID: 241202765
     Case 2:25-cv-00456-KBH    Document 1-4     Filed 01/27/25   Page 83 of 172




THOMAS, THOMAS & HAFER LLP                 Attorney for Defendants,
By: Benjamin C. Frommer, Esquire           Bryner Chevrolet, Inc. d/b/a
Attorney Identification No. 319993         Bryner Chevrolet and
By: Chelsea A. Williams, Esquire           DBP Partners, LP
Attorney Identification No. 329562
1600 JFK Boulevard
Four Penn Center, Suite 1060
Philadelphia, PA 19103
(267) 861-7585 / (267) 861-7599
bfrommer@tthlaw.com / cwilliams@tthlaw.com


JAMES SULLIVAN, JR., ADMINISTRATOR          COURT OF COMMON PLEAS
OF THE ESTATE OF JOHN MICHAEL               PHILADELPHIA COUNTY
SULLIVAN,
                                            NO.: 241202765
             Plaintiff,

v.                                          CIVIL ACTION

META PLATFORMS, INC. F/K/A
FACEBOOK, INC., FACEBOOK
HOLDINGS, LLC, FACEBOOK
OPERATIONS, LLC, FACEBOOK
PAYMENTS, INC., FACEBOOK
TECHNOLOGIES, LLC, INSTAGRAM, LLC,
SNAP, INC., JOHN DOE INC. 1-5, JOHN
DOE CORP. 1-5, SOUTHEASTERN
PENNSYLVANIA TRANSIT AUTHORITY
A/K/A SEPTA, ROBERT MILSON, BRYNER
CHEVROLET, INC. D/B/A BRYNER
CHEVROLET, DBP PARTNERS, LP, DB
PETE, INC., JOHN DOE INC. 5-10, JOHN
KENNEDY FORD OF JENKINTOWN,
HOPKINS FORD, INC., KENNEDY REAL
ESTATE ASSOCIATES, LP, KENNEDY
REAL ESTATE ASSOCIATES
MANAGEMENT, LLC and JOHN DOE
COPR. 5-10,

             Defendants.


                           CERTIFICATE OF SERVICE




                                                                            Case ID: 241202765
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       I, Benjamin C. Frommer, Esquire, do hereby certify that a true and correct copy of the

foregoing Entry of Appearance was filed this date via the Philadelphia County Court of Common

Pleas E-Filing System and thereby deemed served on all counsel of record pursuant to the

Pennsylvania Rules of Civil Procedure and Philadelphia County Local Rules.

                                                  THOMAS, THOMAS & HAFER LLP

Dated: 01/22/2025                          By:    /s/ Benjamin C. Frommer
                                                  Benjamin C. Frommer, Esquire
                                                  Attorney for Defendants,
                                                  Bryner Chevrolet, Inc. d/b/a Bryner
                                                  Chevrolet and DBP Partners, LP




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SOUTHEASTERN PENNSYLVANIA                    Attorney for Defendants,
                                                               Filed SEPTA   and
                                                                      and Attested by the
TRANSPORTATION AUTHORITY                     Robert Millison Office of Judicial Records
By: Tara G. Nalencz, Esquire                                      24 JAN 2025 02:20 pm
                                                                       G. IMPERATO
Identification No. 94064
Office of General Counsel – Legal Division
1234 Market Street, Fifth Floor
Philadelphia, PA. 19107
Phone: (215) 580-7565
E-Mail: tnalencz@septa.org
                               SEPTA File No.: C-2023-1913-001
JAMES SULLIVAN, JR.            COURT OF COMMON PLEAS
ADMINISTRATOR OF THE ESTATE OF PHILADELPHIA COUNTY
JOHN MICHAEL SULLIVAN          CIVIL TRIAL DIVISION
              Plaintiff
        vs.                    DECEMBER TERM, 2024

META PLATFORMS, INC. f/k/a          NO.: 02765
FACEBOOK, INC. and FACEBOOK
HOLDINGS, LLC and FACEBOOK
OPERATIONS, LLC and FACEBOOK
PAYMENTS, INC. and FACEBOOK
TECHNOLOGIES, LLC and INSTGRAM,
LLC and SNAP, INC. JOHN DOE INC. 1-
5 and JOHN DOE CORP 1-5 and
SOUTHEASTERN PENNSYLVANIA
TRANSIT AUTHORITY A/K/A
SEPTA and ROBERT MILSON and
BRYNER CHEVROLET, INC. d/b/a
BRYNER CHEVROLET and DBP
PARTNERS, LP and DB Pete, Inc. and
JOHN DOE, INC., 5-10 and JOHN
KENNEDY FORD OF JENKINTOWN
and HOPKINS FORD, INC., KENNEDY
REAL ESTATE ASSOCIATES, LP and
KENNEDY REAL ESTATE
ASSOCIATES
MANAGEMENT, LLC and JOHN DOE
CORP., 5-10
                   Defendants

                              ENTRY OF APPEARANCE

      TO THE PROTHONOTARY:


                                                                             Case ID: 241202765
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      Kindly enter my appearance for the Defendants, Southeastern Pennsylvania

Transportation Authority (“SEPTA”) and Robert Milson (operator) in the above case.



                                       /s/     Tara G. Nalencz
                                       TARA G. NALENCZ, ESQUIRE
                                       Attorney for Defendants, SEPTA and
Dated: January 23, 2025                Robert Millison




                                                                              Case ID: 241202765
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                                                                        Filed and Attested by the
 JAMES SULLIVAN, JR., ADMINISTRATOR OF             COURT OF COMMON  PLEAS
                                                                 Office  of Judicial Records
 THE ESTATE OF JOHN MICHAEL SULLIVAN,              PHILADELPHIA COUNTY
                                                                     27 JAN 2025 09:12 am
                                                                                S. GILLIAM
                Plaintiff,                         NO.: 241202765

 v.
                                                   CIVIL ACTION
 META PLATFORMS, INC. F/K/A FACEBOOK,
 INC., FACEBOOK HOLDINGS, LLC,
 FACEBOOK OPERATIONS, LLC, FACEBOOK
 PAYMENTS, INC., FACEBOOK
 TECHNOLOGIES, LLC, INSTAGRAM, LLC,
 SNAP, INC., JOHN DOE INC. 1-5, JOHN DOE
 CORP. 1-5, SOUTHEASTERN PENNSYLVANIA
 TRANSIT AUTHORITY A/K/A SEPTA, ROBERT
 MILSON, BRYNER CHEVROLET, INC. D/B/A
 BRYNER CHEVROLET, DBP PARTNERS, LP,
 DB PETE, INC., JOHN DOE INC. 5-10, JOHN
 KENNEDY FORD OF JENKINTOWN,
 HOPKINS FORD, INC., KENNEDY REAL
 ESTATE ASSOCIATES, LP, KENNEDY REAL
 ESTATE ASSOCIATES MANAGEMENT, LLC
 and JOHN DOE COPR. 5-10,

                Defendants.


                                         ORDER

       AND NOW, this _______ day of ________________, 2025, upon consideration of the

Preliminary Objections to Plaintiff’s Complaint by the Moving Defendants, Bryner Chevrolet, Inc.

d/b/a Bryner Chevrolet and DBP Partners, LP and any and all responses thereto, the Preliminary

Objections are hereby SUSTAINED. It is further ordered that:

       Any and all claims within Plaintiff’s Complaint as to Bryner Chevrolet, Inc. d/b/a Bryner

Chevrolet and DBP Partners, LP are dismissed, with prejudice;

Alternatively

       (1) Any allegations of “attractive nuisance” are stricken from Counts V, VI, and VII, as

they pertain to Moving Defendants, are stricken with prejudice; and




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       (2) Any and all allegations of recklessness, reckless, and wanton/willful conduct are

stricken from Count V, VI, and VII, as they pertain to Moving Defendants, are stricken with

prejudice.


                                                    BY THE COURT:

                                                    ____________________________
                                                                                 , J.




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THOMAS, THOMAS & HAFER LLP                 Attorney for Defendant,
By: Benjamin C. Frommer, Esquire           Bryner Chevrolet, Inc. d/b/a
Attorney Identification No. 319993         Bryner Chevrolet and DBP Partners, LP
By: Chelsea A. Williams, Esquire
Attorney Identification No. 329562
1600 JFK Boulevard
Four Penn Center, Suite 1060
Philadelphia, PA 19103
(267) 861-7585 / (267) 861-7599
bfrommer@tthlaw.com / cwilliams@tthlaw.com


 JAMES SULLIVAN, JR., ADMINISTRATOR OF              COURT OF COMMON PLEAS
 THE ESTATE OF JOHN MICHAEL SULLIVAN,               PHILADELPHIA COUNTY

                Plaintiff,                          NO.: 241202765

 v.
                                                    CIVIL ACTION
 META PLATFORMS, INC. F/K/A FACEBOOK,
 INC., FACEBOOK HOLDINGS, LLC,
 FACEBOOK OPERATIONS, LLC, FACEBOOK
 PAYMENTS, INC., FACEBOOK
 TECHNOLOGIES, LLC, INSTAGRAM, LLC,
 SNAP, INC., JOHN DOE INC. 1-5, JOHN DOE
 CORP. 1-5, SOUTHEASTERN PENNSYLVANIA
 TRANSIT AUTHORITY A/K/A SEPTA, ROBERT
 MILSON, BRYNER CHEVROLET, INC. D/B/A
 BRYNER CHEVROLET, DBP PARTNERS, LP,
 DB PETE, INC., JOHN DOE INC. 5-10, JOHN
 KENNEDY FORD OF JENKINTOWN,
 HOPKINS FORD, INC., KENNEDY REAL
 ESTATE ASSOCIATES, LP, KENNEDY REAL
 ESTATE ASSOCIATES MANAGEMENT, LLC
 and JOHN DOE COPR. 5-10,

                Defendants.


 DEFENDANTS BRYNER CHEVROLET, INC. D/B/A BRYNER CHEVROLET AND
DBP PARTNERS LP’S PRELIMINARY OBJECTIONS TO PLAINTIFF’S COMPLAINT


       Defendants Byner Chevrolet, Inc. d/b/a Bryner Chevrolet and DBP Partners LP, by and

through their counsel Thomas, & Hafer, hereby files the within Preliminary Objections to

Plaintiff’s Complaint and aver the following in support thereof:




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I.     STATEMENT OF FACTS AND PROCEDURAL BACKGROUND

       1.      Plaintiff, James Sullivan, Jr. as administrator of the Estate of John Micheal

Sullivan, commenced this action, seeking recovery for the damages allegedly incurred as a result

of decedent tragically stepping onto train tracks and being struck by a SEPTA train on January 4,

2023, in Jenkintown, Pennsylvania. A true and correct copy of Plaintiff’s Complaint is attached

hereto as “Exhibit A.”

       2.      Plaintiff further avers that prior to this incident, decent was unfortunately involved

in a sextortion plot where he was being threatened to pay unknown sums of money to a group from

Nigeria, so explicit photographs would not be released to schoolmates, his family, and the public

in general. See Exhibit A at ¶ 70-80.

       3.      Plaintiff complaint then described that after “unyielding threats from the

sextortionists, the Plaintiff’s Decedent went to a nearby SEPTA train track, where was killed by a

SEPTA train.” See Id. at ¶ 81.

       4.      Objecting Defendant Bryner Chevrolet, Inc. d/b/a Byner Chevrolet is a car

dealership that occupies the property located at 1750 the Fairway in Jenkintown, Pennsyvania.

       5.      Defendant DBP Partners, LP owns the premises located at 1750 the Fairway in

Jenkintown, Pennsylvania.

       6.      The property owned and maintained by Objecting Defendants abuts train tracks that

are used and operated by Amtrack and Septa.

       7.      Plaintiff alleges that Decedent crossed through Objecting Defendant’s property in

order to access the SEPTA train tracks were he ultimately died. See Id. at ¶ 87.

       8.      Plaintiff has deemed the decedent’s death as a homicide. See Id. at ¶ 88.




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        9.       However, Plaintiff’s complaint claims that Objecting Defendants observed the

decedent “wandering in a distressed fashion in the area of the train tracks.” See Id. at ¶ 138.

        10.      Plaintiff further alleges Observing Defendants were negligent and reckless by

observing the Decedent on their property, acting nervously, scared, and distressed in the area of

the train tracks before he was struck and did not intervene or call the police. See Id. at ¶ 138 (p).

        11.      While the Objecting Defendants are held to the restraints of the fact averred in

Plaintiff’s complaint, it is Objecting Defendants understanding and belief that Decedent’s death

was ruled a suicide.1

        12.      Plaintiff seek recovery under the theories of negligence, recklessness, and

willful/wanton conduct (Count V), wrongful death (Count VI), and survival action (Count VII)

alleging that the Objecting Defendant breached a purported duty of care owed to the decedent to

erect fencing, disallowing access to the train tracks. See Exhibit A ¶ 139 (e, f, and h).

        13.      The Complaint further alleges that Objecting Defendant was aware the train tracks

created an attractive nuisance to individuals in the area and/or proximity. Id. at ¶136.

        14.      Objecting Defendants now submit these Preliminary Objections, as they had no

duty of care under Pennsylvania law to affirmatively erect fencing to disallow access to train tracks

adjacent to their property, nor can they be held liable for an “attractive nuisance” created by

another party and owned, managed, and/or maintained by another party (i.e. SEPTA and/or

Amtrak).

II.     ARGUMENT

        A. LEGAL STANDARD



1
 If Plaintiff Decedent’s death is a suicide, under McPeake v. William T. Cannon, Esquire, P.C., Plaintiff decdents’s
death by suicide cannot occasion a wrongful death recovery against Objecting Defendants. See McPeake v. William
T. Cannon, Esquire, P.C., 381 Pa. Super. 227.



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       15.     Pa.R.C.P. 1028(a)(4) permits a party to object to a pleading based on legal

insufficiency in the nature of a demurrer.

       16.     The Pennsylvania Supreme Court has stated,

       “[A] demurrer tests the legal sufficiency of the complaint. A trial court may sustain
       a demurrer, and thereby dismiss a claim, only when the law is clear that a plaintiff
       is not entitled to recovery based on the facts alleged in the complaint. In
       determining the merits of a demurrer, all well-pleaded, material facts set forth in
       the complaint and all inferences fairly deducible from those facts are considered
       admitted and are accepted by the trial court as true; conclusions of law are neither
       deemed admitted nor deemed true.”

Ins. Adjustment Bureau, Inc. v. Allstate Ins. Co., 905 A.2d 462, 468 (Pa. 2006) (citations omitted).

(Followed by Commonwealth v. UPMC, 208 A.3d 898, 908 (Pa. 2019)).

       17.     In Counts V, VI, and VII, of the Complaint, Plaintiffs attempt to assert liability

claims against Objecting Defendants for negligence, wrongful death and survival.

       18.     To succeed on a negligence claim, a plaintiff must prove four elements: (1) a duty

or obligation recognized by law; (2) a breach of that duty; (3) a causal connection between the

defendant's breach of duty and the plaintiff's injury; and (4) actual injury. Cooper v. Frankford

Health Sys., Inc., 2008 PA Super 248, 960 A.2d 134, 140 n.2 (Pa. Super. Ct. 2008); see also R.W.

v. Manzek, 585 Pa. 335, 888 A.2d 740, 746 (Pa. 2005).

       19.     The question presented by the demurrer is whether, on the facts averred, the law

says with certainty that no recovery is possible." Mistick Inc. v. Northwestern Nat'lCas. Co., 2002

PA Super 267, 806 A.2d 39, 42 (Pa. Super. 2002) (citation omitted).

       20.     Preliminary objections in the nature of a demurrer require the court to resolve the

issues solely on the basis of the pleadings; no testimony or other evidence outside of the complaint

may be considered to dispose of the legal issues presented by the demurrer. (citation omitted),




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Cooper v. Frankford Health Care System, Inc., 2008 PA Super 248, 960 A.2d 134, 2008 WL

4615714, 6 (Pa.Super.) (Pa.Super.,2008).

             Preliminary Objection in the Nature of a Motion to Dismiss and/or Strike
      Plaintiff’s Complaint due based upon failure to state a valid claim of negligence

       21.     "To sustain preliminary objections in the nature of a demurrer, it must appear with

certainty that, upon the facts averred, the law will not permit recovery by the plaintiff." Harkins v.

Zamichieli, 266 Pa. Super. 401, 405 A.2d 495, 497 (Pa. Super. 1979)(quoting Schott v.

Westinghouse Electric Corporation, 436 Pa. 279, 259 A.2d 443, 445 (Pa. 1969).

       22.     The sustaining of a demurrer results in the denial of a claim or the dismissal of a

suit and should therefore be sustained only in cases that are clear and free from doubt. R.W. v.

Manzek, 585 Pa. 335, 888 A.2d 740, 749 (Pa. 2005); Bourke v. Kazaras, 2000 PA Super 29, 746

A.2d 642, 643 (Pa.Super.Ct.2000).

              a. Objecting Defendants had no duty to erect fences or barriers on its property
    because of its proximity to train tracks

       23.     Plaintiff avers that decedent walked through the “Premises Defendants’” properties

in order to gain access train tracks which abut both properties. See Exhibit A at 87. 

          Further, Plaintiff avers that Objecting Defendants were negligent, reckless, and/or

careless by virtue of their failure to install barriers that prevented pedestrians to gain access to the

train tracks, failing to install fencing along the tracks, and/or failing to repair the lack of fencing

around the train tracks. See Exhibit A at 139.

       25.     In short: all of Plaintiff’s claims against Objecting Defendants hinge on the

assertion that Defendants had a duty of care to prevent persons from crossing their property and

accessing the adjacent train tracks.




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       26.     However, no such duty of care exists under Pennsylvania law. The Pennsylvania

Commonwealth Court established in Scarborough v Scarborough, that “it is well settled that the

law imposes no duty upon a possessor of adjacent land to erect fencing or provide warnings

so as to deter persons from entering a third party's property on which there exists a

dangerous condition not created or maintained by the landowner and over which the

landowner has no control.” Kearns v. Rollins Outdoor Advertising, Inc., 89 Pa.Commw. 596,

(1985); Magner v. Baptist Church, supra; Heller v. Consolidated Rail Corporation, 576 F. Supp.

6 (E.D. Pa.1982), aff'd 720 F.2d 662 (3d Cir.1983); Cousins v. Yaeger, 394 F. Supp.

595 (E.D.Pa.1975) (emphasis added).

       27.     The Court went on to state:

       “…[I]t would be incongruous to impose such a duty upon landowners adjacent
       to a railroad right-of-way when it long has been held that a railroad has no
       duty to erect fences on its right-of-way to deter trespassers.” Dugan v.
       Pennsylvania Railroad Company, 387 Pa. 25, 127 (1956); Malischewski v.
       Pennsylvania Railroad Company, supra. Cousins, 394 F. Supp. at 605. See also
       Lynch v. National Railroad Passenger Corporation, supra.

       28.     As noted above, Objecting Defendants have no legal duty to erect fences or provide

warnings to deter a person from entering train tracks which Plaintiff acknowledges in the

Complaint are not located on Objecting Defendants’ property and which Objecting Defendants

have no control over.

       29.     While Objecting Defendants have great sympathy for Plaintiff and recognize that

Plaintiff may have a cognizable claim under the entirely separate theories posited against the so-

called “Social Media Defendants,” Objecting Defendants nonetheless aver that this Court should

not establish a new and novel theory of liability against every landowner in Pennsylvania whose

property happens to abut a railroad track.




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       30.       Indeed – and quite to the contrary – the Courts in this Commonwealth have

routinely and uniformly held that there is no such duty. See Scarborough, supra.

       31.       Simply put: Plaintiff’s Complaint fails to state a legally cognizable claim because

the underlying factual basis for the claims – that Objecting Defendants failed to erect a fence along

the adjacent railroad tracks – is not sufficient to establish a duty of care. to the decedent, let alone

claim a duty had been breached.

       32.       Absent such facts, Plaintiffs’ liability claims against Objection Defendants are

legally insufficient and should be dismissed pursuant to Pa.R.Civ.P. 1028(a)(4).

       b. Preliminary Objection Pursuant to Pa.R.C.P. (a)(4): Plaintiff Attempts to Allege
   the Application of the Attractive Nuisance Doctrine Even though it is Not Applicable to
   the Facts of the Case

       33.       Plaintiff alternatively claims that Objecting Defendants were aware that the train

tracks, posed an attractive nuisance to individuals in the area. See Complaint at ¶ 136..

       34.       Under the “attractive nuisance” doctrine, landowners have been held responsible

for injuries to children caused by dangerous conditions on the land when children were to be

anticipated, and the burden of making the place safe was comparatively slight in view of the serious

risk involved.

       35.       The Supreme Court has adopted the definition of attractive nuisance from the

Restatement of the Law of Torts specifically at is applies to children.


       36.       The term has been defined as follows:

       A possessor of land is subject to liability for bodily harm to young children
       trespassing thereon caused by a structure or other artificial condition which he
       maintains upon the land, if
       (a) the place where the condition is maintained is one upon which the
       possessor knows or should know that such children are likely to trespass, and
       (b) the condition is one of which the possessor knows or should know and which he
       realizes or should realize as involving an unreasonable risk of death or serious bodily
       harm to such children, and


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        (c) the children because of their youth do not discover the condition or realize the risk
        involved in intermeddling in it or in coming within the area made dangerous by it, and
        (d) the utility to the possessor of maintaining the condition is slight as compared to the
        risk to young children involved therein.

    See Bartleson v. Glen Alden Coal Co., 361 Pa. 519 (Pa. 1949).

        37.     Plaintiff is attempting to make the claim that Objecting Defendants were aware of

the “attractive nuisance” the train tracks create and thus had a duty to protect against that nuisance.

        38.     However, there is no information within the Complaint that alleges Decedent was

a minor at the time of the incident and upon information and belief Decedent had reached the age

of majority.

        39.     At a minimum, allegations related to “attractive nuisance” should be stricken

without prejudice for insufficient specificity of pleading (to the extent the age of the Decedent is

arguably unclear).

        40.     However, to the extent that Plaintiff failed to specifically aver that the Decedent

was a minor, it can be fairly assumed for purposes of the pleadings that he had reached the age of

majority and, as a result, the doctrine of attractive nuisance does not apply to this case.

        41.     Finally, and setting aside the application of the attractive nuisance doctrine based

upon Plaintiff’s age, it should further be noted that Plaintiff has specifically averred the train track

reside on Defendant SEPTA’s property. See Exhibit A at ¶ 123.

        42.     Consequently, Plaintiff has not, and will not be able to establish, that the train tracks

were a condition maintained on Objecting Defendant’s property, which is a condition precedent to

any attractive nuisance claim.

        WHEREFORE, Defendants Bryner Chevrolet, Inc. d/b/a Bryner Chevrolet and DPB

Partners, LP, respectfully request that this Honorable Court sustain their Preliminary Objections




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to Plaintiff’s Complaint and dismiss Plaintiffs’ claims of negligence, wrongful death and survival

with prejudice.


 Preliminary Objection in The Nature Of A Motion To Dismiss And/or Strike Plaintiffs’
Allegation Of Recklessness And Willful/Wanton Conduct Including Any Future Claim Of
                    Punitive Damages Pa.R.C.P. NO. 1028(a)(2)-(4)

       43.        In support of their negligence claims against Objecting Defendants, Plaintiff

inadequately avers that, the aforesaid incident was caused by the recklessness and willful/wanton

conduct of the Objecting Defendants. See Exhibit A at ¶ 139.

       44.        [An] actor’s conduct is in reckless disregard of the safety of another if he does an

act or intentionally fails to do an act which it is his duty to the other to do, knowing or having

reason to know of facts which would lead a reasonable man to realize, not only that his conduct

creates an unreasonable risk of physical harm to another, but also that such risk is substantially

greater than that which is necessary to make his conduct negligent. United Servs. Auto. Ass’n v.

Elitzky, 517 A.2d 982, 989-90 (Pa. Super. Ct. 1986) (citing Restatement (Second) of Torts § 500).

       45.        “Reckless indifference to the interests of others”, or as it is sometimes referred to,

“wanton misconduct”, means that “the actor has intentionally done an act of an unreasonable

character, in disregard to a risk known to him or so obvious that he must be taken to have been

aware of it, and so great as to make it highly probable that harm would follow.” McClellan v.

HMO, 604 A.2d 1053, 1061 (Pa. Super. Ct. 1992) (citations omitted).

       46.        Under Pennsylvania law, recklessness or wantonness requires a showing that the

actor knew or had reason to know of facts which created a high degree of risk of physical harm to

another and that the actor deliberately proceeded to act, or failed to act, in conscious disregard of,

or indifference to, that risk. SHV Coal, Inc. v. Cont’l Grain Co., 587 A.2d 702, 704 (Pa. 1991)




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(discussing the type of recklessness that must be shown for a finding of punitive damages under

Pennsylvania law).

       47.     In the instant case, Plaintiff’s Complaint is devoid of facts demonstrating that

Objecting Defendants knew or had reason to know that their conduct created an unreasonable risk

of physical harm to another or that such risk was substantially greater than that which is necessary

to make its conduct negligent.

       48.     Further, Plaintiff failed to aver facts tending to show that Objecting Defendants had

the state of mind required for a finding of recklessness and gross negligence in that Plaintiff failed

to aver any facts tending to show that Objecting Defendants deliberately acted, or failed to act, in

conscious disregard of a known high risk of harm to another.

       49.     Thus, even when read in the light most favorable to Plaintiff, the factual allegations

set forth in Plaintiff’s Complaint support no more than a claim for ordinary negligence.

       50.     Moreover, while Plaintiff’s Complaint avers Objecting Defendants acted

recklessly, it does not set forth a claim for punitive damages. Yet, the failure to do so is not

necessarily fatal to a future claim.

       51.     A plaintiff may amend a complaint to include a claim for punitive damages after

the expiration of the two-year statute of limitations where the complaint states a basis for the same.

Willett v. Evergreen Homes, Inc., 595 A.2d 164 (Pa. Super. Ct. 1991); 5 Std. Pa. Prac. 2d § 24:71

(October 2010). See Pl.’s Compl. Emphasis added.

       52.     “Gross negligence, as defined by the courts for the purpose of certain statutory

provisions, is insufficient as a matter of law to sustain a claim of punitive damages.

       53.     A showing of mere negligence, or even gross negligence, will not suffice to

establish that punitive damages should be imposed.” Phillips v. Cricket Lighters, 584 Pa. 179, 883




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A.2d 439, 445 (2005) citing SHV Coal, Inc. v. Continental Grain Co., 526 Pa. 489, 587 A.2d 702,

705 (1991).

          54.    To establish the imposition of punitive damages, the plaintiff must adduce evidence

which goes beyond a showing of negligence, evidence sufficient to establish that the defendant's

acts amounted to “intentional, willful, wanton or reckless conduct....” Id. at 704 (citation omitted).

          55.    From SHV Coal and Phillips, the Pennsylvania Supreme Court has clearly made a

distinction between negligence and punitive damages claims, with a plaintiff being required to

meet a far lesser burden to establish a negligence claim than that which is imposed in connection

with a punitive damages claim. This distinction is an important one.

          56.    Damages awarded in a negligence action compensate a plaintiff for his or her

losses. Punitive damages, in contrast, are not awarded to compensate the plaintiff for her damages

but rather to heap an additional punishment on a defendant who is found to have acted in a fashion

which is particularly egregious. G.J.D. by G.J.D. v. Johnson, 552 Pa. 169, 713 A.2d 1127, 1129

(1998).

          57.    Such a punishment should not be meted out to every defendant who is found to

have acted negligently; rather, it should be reserved for those cases in which the defendant has

acted in a particularly outrageous fashion.

          58.    Accordingly, since Plaintiff failed to plead any facts which would support its

allegation that Objecting Defendants were reckless, said allegation of recklessness and gross

negligence should be stricken from Plaintiff’s Complaint so that Plaintiffs cannot assert a future

claim for punitive damages.

          WHEREFORE, it is respectfully requested that this Honorable Court strike and/or dismiss

the allegations of recklessness and wanton/willful conduct against Defendant Bryner Chevrolet




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d/b/a Byner Chevrolet and DBP Partners, LP from Plaintiff’s Complaint and any future claims of

punitive damages with prejudice.

III.     CONCLUSION

         59.   Again: the underlying factual averment against Objecting Defendants is that they

failed to erect a fence to obstruct access to the adjacent railroad tracks, property which Plaintiff

alleges was owned by SEPTA.

         60.   Pennsylvania law imposes no duty upon Defendants to erect such a fence.

Moreover, Plaintiff’s Complaint acknowledges that the Decedent crossed Objecting Defendants’

property and entered onto the SEPTA-owned tracks of his own accord and volition.

         61.   While the Complaint stops short of averring that the Decedent intentionally took

his own life, the allegations against the “Social Media Defendants” makes clear that the Decedent’s

behavior that day was not caused by any act or omission of Objecting Defendants.

         62.   Simply put: Objecting Defendant cannot and should be held liable for an act which

occurred on another party’s property (SEPTA) merely because the Decedent happened to cross

Objecting Defendants’ property in order to get to those tracks.

         63.   Plaintiff’s Complaint is legally insufficient to support a valid cause of action against

Objecting Defendants.

         64.   Additionally and alternatively, this Court should strike the insufficiently pled

allegations against Objecting Defendants relating to any alleged “attractive nuisance” since (a) the

Decedent is not alleged to be a minor at the time of the incident and (b) the incident did not

allegedly occur on Objecting Defendants’ property.

         65.   Finally, Objecting Defendants maintain that, at a minimum, there is no valid basis

for claims of willful, wanton, or reckless conduct, and those claims should be stricken.




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       WHEREFORE, Objection Defendants respectfully request that this Court sustain these

Preliminary Objections and enter an Order as Proposed, dismissing Plaintiff’s Claims against

Objecting Defendants in their entirety, with prejudice.

                                             Respectfully submitted,


                                             THOMAS, THOMAS & HAFER LLP

Dated: 01/22/2025                            By:     /s/ Benjamin C. Frommer
                                                     Benjamin C. Frommer, Esquire
                                                     Chelsea A. Williams, Esquire
                                                     Attorney for Defendant
                                                     Bryner Chevrolet, Inc. d/b/a Bryner
                                                     Chevrolet and DBP Partners, Inc.




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THOMAS, THOMAS & HAFER LLP                 Attorney for Defendant,
By: Benjamin C. Frommer, Esquire           Bryner Chevrolet, Inc. d/b/a
Attorney Identification No. 319993         Bryner Chevrolet and DBP Partners, LP
By: Chelsea A. Williams, Esquire
Attorney Identification No. 329562
1600 JFK Boulevard
Four Penn Center, Suite 1060
Philadelphia, PA 19103
(267) 861-7585 / (267) 861-7599
bfrommer@tthlaw.com / cwilliams@tthlaw.com


JAMES SULLIVAN, JR., ADMINISTRATOR OF      COURT OF COMMON PLEAS
THE ESTATE OF JOHN MICHAEL SULLIVAN,       PHILADELPHIA COUNTY

              Plaintiff,                   NO.: 241202765

v.
                                           CIVIL ACTION
META PLATFORMS, INC. F/K/A FACEBOOK,
INC., FACEBOOK HOLDINGS, LLC,
FACEBOOK OPERATIONS, LLC, FACEBOOK
PAYMENTS, INC., FACEBOOK
TECHNOLOGIES, LLC, INSTAGRAM, LLC,
SNAP, INC., JOHN DOE INC. 1-5, JOHN DOE
CORP. 1-5, SOUTHEASTERN PENNSYLVANIA
TRANSIT AUTHORITY A/K/A SEPTA, ROBERT
MILSON, BRYNER CHEVROLET, INC. D/B/A
BRYNER CHEVROLET, DBP PARTNERS, LP,
DB PETE, INC., JOHN DOE INC. 5-10, JOHN
KENNEDY FORD OF JENKINTOWN,
HOPKINS FORD, INC., KENNEDY REAL
ESTATE ASSOCIATES, LP, KENNEDY REAL
ESTATE ASSOCIATES MANAGEMENT, LLC
and JOHN DOE COPR. 5-10,

              Defendants.


   BRIEF IN SUPPORT OF DEFENDANTS BRYNER CHEVROLET, INC. D/B/A
 BRYNER CHEVROLET AND DBP PARTNERS LP’S PRELIMINARY OBJECTIONS
                     TO PLAINTIFF’S COMPLAINT




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  I.     MATTER BEFORE THE COURT

         Presently before the Court are the Preliminary Objections of Defendant, Bryner Chevrolet,

Inc. d/b/a Bryner Chevrolet and DBP Partner’s (hereinafter “Objecting Defendants”), to Plaintiff’s

Complaint.

 II.     STATEMENT OF QUESTIONS INVOLVED

         A.      Should Plaintiff’s Complaint asserting negligence, wrongful death, and
         survival action, be dismissed where Plaintiff has failed to demonstrate a legally
         sufficient claim for negligence against Objecting Defendants and where
         Pennsylvania has never established a duty of care upon landowners to prevent
         access to adjacent railway tracks?

                Suggested Answer: Yes.

         B.     Should Plaintiff’s Allegations and Mentions of Attractive Nuisance against
         Objecting Defendants be Stricken from the Amended Complaint as the Doctrine is
         Inapplicable to the Facts of the Case?

                Suggested Answer: Yes.

         C.     Should Plaintiff’s Allegations and Mentions of Recklessness and
         Wanton/willful conduct against Objection Defendants be Stricken as Plaintiffs Failed
         to Allege Specific Facts Establishing Conduct that Would be Deemed Reckless?

                Suggested Answer: Yes.

III.     STATEMENT OF FACTS AND PROCEDURAL BACKGROUND

         Plaintiff, James Sullivan, Jr. as administrator of the Estate of John Micheal Sullivan,

commenced this action, seeking recovery for the damages allegedly incurred as a result of decedent

tragically stepping onto train tracks and being struck by a SEPTA train on January 4, 2023, in

Jenkintown, Pennsylvania. A true and correct copy of Plaintiff’s Complaint is attached hereto as

“Exhibit A.” Plaintiff further avers that prior to this incident, decent was unfortunately involved

in a sextortion plot where he was being threatened to pay unknown sums of money to a group from

Nigeria, so explicit photographs would not be released to schoolmates, his family, and the public




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in general. See Exhibit A at ¶ 70-80. Plaintiff complaint then described that after “unyielding

threats from the sextortionists, the Plaintiff’s Decedent went to a nearby SEPTA train track, where

was killed by a SEPTA train.” See Id. at ¶ 81.

        Objecting Defendant Bryner Chevrolet, Inc. d/b/a Byner Chevrolet is a car dealership that

occupies the property located at 1750 the Fairway in Jenkintown, Pennsyvania. Defendant DBP

Partners, LP owns the premises located at 1750 the Fairway in Jenkintown, Pennsylvania. The

property owned and maintained by Objecting Defendants abuts train tracks that are used and

operated by Amtrak and Septa. Plaintiff alleges that Decedent crossed through Objecting

Defendant’s property in order to access the SEPTA train tracks were he ultimately died. See Id. at

¶ 87.

        Plaintiff has deemed the decedent’s death as a homicide. See Id. at ¶ 88. However,

Plaintiff’s complaint claims that Objecting Defendants observed the decedent “wandering in a

distressed fashion in the area of the train tracks.” See Id. at ¶ 138. Plaintiff further alleges

Observing Defendants were negligent and reckless by observing the Decedent on their property,

acting nervously, scared, and distressed in the area of the train tracks before he was struck and did

not intervene or call the police. See Id. at ¶ 138 (p). While the Objecting Defendants are constrained

to accept as true the well-pled facts averred in Plaintiff’s complaint, it is Objecting Defendants

understanding and belief that Decedent’s death was the result of his intentional conduct (which

may or may not have been caused by significant mental health distress).2




2
  If Plaintiff Decedent’s death is deemed a suicide, under McPeake v. William T. Cannon, Esquire, P.C., Plaintiff
decdents’s death by suicide cannot occasion a wrongful death recovery against Objecting Defendants. See McPeake
v. William T. Cannon, Esquire, P.C., 381 Pa. Super. 227. Moving Defendants do not raise their legal demurrer at
this time on that particular issue because, as currently pled, the Complaint describes the cause of death as
“homicide.”



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        Plaintiff seeks recovery under the theories of negligence, recklessness, and willful/wanton

conduct (Count V), wrongful death (Count VI), and survival action (Count VII) alleging that the

Objecting Defendant breached a purported duty of care owed to the decedent to erect fencing,

disallowing access to the train tracks. See Exhibit A ¶ 139 (e, f, and h). The Complaint further

alleges that Objecting Defendant was aware the train tracks created an attractive nuisance to

individuals in the area and/or proximity. Id. at ¶136.

        Objecting Defendants now submit these Preliminary Objections, as they had no duty of

care under Pennsylvania law to affirmatively erect fencing to disallow access to train tracks

adjacent to their property, nor can they be held liable for an “attractive nuisance” created by

another party and owned, managed, and/or maintained by another party (i.e. SEPTA and/or

Amtrak).

IV.     ARGUMENT

        A. LEGAL STANDARD

        Pa.R.C.P. 1028(a)(4) permits a party to object to a pleading based on legal insufficiency in

the nature of a demurrer.

The Pennsylvania Supreme Court has stated,

        “[A] demurrer tests the legal sufficiency of the complaint. A trial court may sustain
        a demurrer, and thereby dismiss a claim, only when the law is clear that a plaintiff
        is not entitled to recovery based on the facts alleged in the complaint. In
        determining the merits of a demurrer, all well-pleaded, material facts set forth in
        the complaint and all inferences fairly deducible from those facts are considered
        admitted and are accepted by the trial court as true; conclusions of law are neither
        deemed admitted nor deemed true.”

Ins. Adjustment Bureau, Inc. v. Allstate Ins. Co., 905 A.2d 462, 468 (Pa. 2006) (citations omitted).

(Followed by Commonwealth v. UPMC, 208 A.3d 898, 908 (Pa. 2019)).




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       In Counts V, VI, and VII, of the Complaint, Plaintiffs attempt to assert liability claims

against Objecting Defendants for negligence, wrongful death and survival. To succeed on a

negligence claim, a plaintiff must prove four elements: (1) a duty or obligation recognized by law;

(2) a breach of that duty; (3) a causal connection between the defendant's breach of duty and the

plaintiff's injury; and (4) actual injury. Cooper v. Frankford Health Sys., Inc., 2008 PA Super 248,

960 A.2d 134, 140 n.2 (Pa. Super. Ct. 2008); see also R.W. v. Manzek, 585 Pa. 335, 888 A.2d 740,

746 (Pa. 2005).

       The question presented by the demurrer is whether, on the facts averred, the law says with

certainty that no recovery is possible." Mistick Inc. v. Northwestern Nat'lCas. Co., 2002 PA Super

267, 806 A.2d 39, 42 (Pa. Super. 2002) (citation omitted).

       Preliminary objections in the nature of a demurrer require the court to resolve the issues

solely on the basis of the pleadings; no testimony or other evidence outside of the complaint may

be considered to dispose of the legal issues presented by the demurrer. (citation omitted), Cooper

v. Frankford Health Care System, Inc., 2008 PA Super 248, 960 A.2d 134, 2008 WL 4615714, 6

(Pa.Super.) (Pa.Super.,2008).

             Preliminary Objection in the Nature of a Motion to Dismiss and/or Strike
      Plaintiff’s Complaint due based upon failure to state a valid claim of negligence

       "To sustain preliminary objections in the nature of a demurrer, it must appear with certainty

that, upon the facts averred, the law will not permit recovery by the plaintiff." Harkins v.

Zamichieli, 266 Pa. Super. 401, 405 A.2d 495, 497 (Pa. Super. 1979)(quoting Schott v.

Westinghouse Electric Corporation, 436 Pa. 279, 259 A.2d 443, 445 (Pa. 1969).

       The sustaining of a demurrer results in the denial of a claim or the dismissal of a suit and

should therefore be sustained only in cases that are clear and free from doubt. R.W. v. Manzek,




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585 Pa. 335, 888 A.2d 740, 749 (Pa. 2005); Bourke v. Kazaras, 2000 PA Super 29, 746 A.2d 642,

643 (Pa.Super.Ct.2000).

             a. Objecting Defendants had no duty to erect fences or barriers on its property
   because of its proximity to train tracks

Plaintiff avers that decedent walked through the “Premises Defendants’” properties in order to gain

access train tracks which abut both properties. See Exhibit A at 87. Further, Plaintiff avers that

Objecting Defendants were negligent, reckless, and/or careless by virtue of their failure to install

barriers that prevented pedestrians to gain access to the train tracks, failing to install fencing along

the tracks, and/or failing to repair the lack of fencing around the train tracks. See Exhibit A at 139.

In short: all of Plaintiff’s claims against Objecting Defendants hinge on the assertion that

Defendants had a duty of care to prevent persons from crossing their property and accessing the

adjacent train tracks.

       However, no such duty of care exists under Pennsylvania law. The Pennsylvania

Commonwealth Court established in Scarborough v Scarborough, that “it is well settled that the

law imposes no duty upon a possessor of adjacent land to erect fencing or provide warnings

so as to deter persons from entering a third party's property on which there exists a

dangerous condition not created or maintained by the landowner and over which the

landowner has no control.” Kearns v. Rollins Outdoor Advertising, Inc., 89 Pa.Commw. 596,

(1985); Magner v. Baptist Church, supra; Heller v. Consolidated Rail Corporation, 576 F. Supp.

6 (E.D. Pa.1982), aff'd 720 F.2d 662 (3d Cir.1983); Cousins v. Yaeger, 394 F. Supp.

595 (E.D.Pa.1975) (emphasis added).

       The Court went on to state:

       “…[I]t would be incongruous to impose such a duty upon landowners adjacent
       to a railroad right-of-way when it long has been held that a railroad has no
       duty to erect fences on its right-of-way to deter trespassers.” Dugan v.



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         Pennsylvania Railroad Company, 387 Pa. 25, 127 (1956); Malischewski v.
         Pennsylvania Railroad Company, supra. Cousins, 394 F. Supp. at 605. See also
         Lynch v. National Railroad Passenger Corporation, supra.

         As noted above, Objecting Defendants have no legal duty to erect fences or provide

warnings to deter a person from entering train tracks which Plaintiff acknowledges in the

Complaint are not located on Objecting Defendants’ property and which Objecting Defendants

have no control over.

         While Objecting Defendants have great sympathy for Plaintiff and recognize that Plaintiff

may have a cognizable claim under the entirely separate theories posited against the so-called

“Social Media Defendants,” Objecting Defendants nonetheless aver that this Court should not

establish a new and novel theory of liability against every landowner in Pennsylvania whose

property happens to abut a railroad track. Indeed – and quite to the contrary – the Courts in this

Commonwealth have routinely and uniformly held that there is no such duty. See Scarborough,

supra.

         Simply put: Plaintiff’s Complaint fails to state a legally cognizable claim because the

underlying factual basis for the claims – that Objecting Defendants failed to erect a fence along

the adjacent railroad tracks – is not sufficient to establish a duty of care. to the decedent, let alone

claim a duty had been breached. Absent such facts, Plaintiffs’ liability claims against Objection

Defendants are legally insufficient and should be dismissed pursuant to Pa.R.Civ.P. 1028(a)(4).

       b. Preliminary Objection Pursuant to Pa.R.C.P. (a)(4): Plaintiff Attempts to Allege
   the Application of the Attractive Nuisance Doctrine Even though it is Not Applicable to
   the Facts of the Case

         Plaintiff alternatively claims that Objecting Defendants were aware that the train tracks, =

posed an attractive nuisance to individuals in the area. See Complaint at ¶ 136..




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       Under the “attractive nuisance” doctrine, landowners have been held responsible for

injuries to children caused by dangerous conditions on the land when children were to be

anticipated, and the burden of making the place safe was comparatively slight in view of the serious

risk involved. The Supreme Court has adopted the definition of attractive nuisance from the

Restatement of the Law of Torts specifically at is applies to children.


       The term has been defined as follows:

       A possessor of land is subject to liability for bodily harm to young children
       trespassing thereon caused by a structure or other artificial condition which he
       maintains upon the land, if
       (a) the place where the condition is maintained is one upon which the
       possessor knows or should know that such children are likely to trespass, and
       (b) the condition is one of which the possessor knows or should know and which he
       realizes or should realize as involving an unreasonable risk of death or serious bodily
       harm to such children, and
       (c) the children because of their youth do not discover the condition or realize the risk
       involved in intermeddling in it or in coming within the area made dangerous by it, and
       (d) the utility to the possessor of maintaining the condition is slight as compared to the
       risk to young children involved therein.

   See Bartleson v. Glen Alden Coal Co., 361 Pa. 519 (Pa. 1949).

       Plaintiff is attempting to make the claim that Objecting Defendants were aware of the

“attractive nuisance” the train tracks create and thus had a duty to protect against that nuisance.

However, there is no information within the Complaint that alleges Decedent was a minor at the

time of the incident and upon information and belief Decedent had reached the age of majority. At

a minimum, allegations related to “attractive nuisance” should be stricken without prejudice for

insufficient specificity of pleading (to the extent the age of the Decedent is arguably unclear).

However, to the extent that Plaintiff failed to specifically aver that the Decedent was a minor, it

can be fairly assumed for purposes of the pleadings that he had reached the age of majority and,

as a result, the doctrine of attractive nuisance does not apply to this case.




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        Finally, and setting aside the application of the attractive nuisance doctrine based upon

Plaintiff’s age, it should further be noted that Plaintiff has specifically averred the train track reside

on Defendant SEPTA’s property. See Exhibit A at ¶ 123. Consequently, Plaintiff has not, and will

not be able to establish, that the train tracks were a condition maintained on Objecting Defendant’s

property, which is a condition precedent to any attractive nuisance claim.

        WHEREFORE, Defendants Bryner Chevrolet, Inc. d/b/a Bryner Chevrolet and DPB

Partners, LP, respectfully request that this Honorable Court sustain their Preliminary Objections

to Plaintiff’s Complaint and dismiss Plaintiff’s claims of negligence, wrongful death and survival

with prejudice.


  Preliminary Objection in The Nature Of A Motion To Dismiss And/or Strike Plaintiffs’
 Allegation Of Recklessness And Willful/Wanton Conduct Including Any Future Claim Of
                     Punitive Damages Pa.R.C.P. NO. 1028(a)(2)-(4)

        In support of their negligence claims against Objecting Defendants, Plaintiff inadequately

avers that, the aforesaid incident was caused by the recklessness and willful/wanton conduct of the

Objecting Defendants. See Exhibit A at ¶ 139.

        [An] actor’s conduct is in reckless disregard of the safety of another if he does an act or

intentionally fails to do an act which it is his duty to the other to do, knowing or having reason to

know of facts which would lead a reasonable man to realize, not only that his conduct creates an

unreasonable risk of physical harm to another, but also that such risk is substantially greater than

that which is necessary to make his conduct negligent. United Servs. Auto. Ass’n v. Elitzky, 517

A.2d 982, 989-90 (Pa. Super. Ct. 1986) (citing Restatement (Second) of Torts § 500).

        “Reckless indifference to the interests of others”, or as it is sometimes referred to, “wanton

misconduct”, means that “the actor has intentionally done an act of an unreasonable character, in

disregard to a risk known to him or so obvious that he must be taken to have been aware of it, and




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so great as to make it highly probable that harm would follow.” McClellan v. HMO, 604 A.2d

1053, 1061 (Pa. Super. Ct. 1992) (citations omitted). Under Pennsylvania law, recklessness or

wantonness requires a showing that the actor knew or had reason to know of facts which created a

high degree of risk of physical harm to another and that the actor deliberately proceeded to act, or

failed to act, in conscious disregard of, or indifference to, that risk. SHV Coal, Inc. v. Cont’l Grain

Co., 587 A.2d 702, 704 (Pa. 1991) (discussing the type of recklessness that must be shown for a

finding of punitive damages under Pennsylvania law).

       In the instant case, Plaintiff’s Complaint is devoid of facts demonstrating that Objecting

Defendants knew or had reason to know that their conduct created an unreasonable risk of physical

harm to another or that such risk was substantially greater than that which is necessary to make its

conduct negligent. Further, Plaintiff failed to aver facts tending to show that Objecting Defendants

had the state of mind required for a finding of recklessness and gross negligence in that Plaintiff

failed to aver any facts tending to show that Objecting Defendants deliberately acted, or failed to

act, in conscious disregard of a known high risk of harm to another. Thus, even when read in the

light most favorable to Plaintiff, the factual allegations set forth in Plaintiff’s Complaint support

no more than a claim for ordinary negligence.

       Moreover, while Plaintiff’s Complaint avers Objecting Defendants acted recklessly, it does

not set forth a claim for punitive damages. Yet, the failure to do so is not necessarily fatal to a

future claim. A plaintiff may amend a complaint to include a claim for punitive damages after the

expiration of the two-year statute of limitations where the complaint states a basis for the same.

Willett v. Evergreen Homes, Inc., 595 A.2d 164 (Pa. Super. Ct. 1991); 5 Std. Pa. Prac. 2d § 24:71

(October 2010). See Pl.’s Compl. Emphasis added.




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       “Gross negligence, as defined by the courts for the purpose of certain statutory provisions,

is insufficient as a matter of law to sustain a claim of punitive damages. A showing of mere

negligence, or even gross negligence, will not suffice to establish that punitive damages should be

imposed.” Phillips v. Cricket Lighters, 584 Pa. 179, 883 A.2d 439, 445 (2005) citing SHV Coal,

Inc. v. Continental Grain Co., 526 Pa. 489, 587 A.2d 702, 705 (1991). To establish the imposition

of punitive damages, the plaintiff must adduce evidence which goes beyond a showing of

negligence, evidence sufficient to establish that the defendant's acts amounted to “intentional,

willful, wanton or reckless conduct....” Id. at 704 (citation omitted).

       From SHV Coal and Phillips, the Pennsylvania Supreme Court has clearly made a

distinction between negligence and punitive damages claims, with a plaintiff being required to

meet a far lesser burden to establish a negligence claim than that which is imposed in connection

with a punitive damages claim. This distinction is an important one. Damages awarded in a

negligence action compensate a plaintiff for his or her losses. Punitive damages, in contrast, are

not awarded to compensate the plaintiff for her damages but rather to heap an additional

punishment on a defendant who is found to have acted in a fashion which is particularly egregious.

G.J.D. by G.J.D. v. Johnson, 552 Pa. 169, 713 A.2d 1127, 1129 (1998).

       Such a punishment should not be meted out to every defendant who is found to have acted

negligently; rather, it should be reserved for those cases in which the defendant has acted in a

particularly outrageous fashion. Accordingly, since Plaintiff failed to plead any facts which would

support its allegation that Objecting Defendants were reckless, said allegation of recklessness and

gross negligence should be stricken from Plaintiff’s Complaint so that Plaintiffs cannot assert a

future claim for punitive damages.




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       WHEREFORE, it is respectfully requested that this Honorable Court strike and/or dismiss

the allegations of recklessness and wanton/willful conduct against Defendants Bryner Chevrolet

d/b/a Byner Chevrolet and DBP Partners, LP from Plaintiff’s Complaint and any future claims of

punitive damages with prejudice.

V. CONCLUSION

       The underlying factual averment against Objecting Defendants is that they allegedly failed

to erect a fence to obstruct access to the adjacent railroad tracks where Plaintiff-Decedent tragically

lost his life. Plaintiff acknowledges through the Complaint that this tragedy occurred on the

property owned by SEPTA, over which Objecting Defendants had absolutely no dominion or

control. The sole basis for Plaintiff’s theory of liability is that Objecting Defendants allegedly

failed to prevent the Decedent from entering upon SEPTA’s property.

       Pennsylvania law imposes no duty upon Defendants to erect a fence between its own

property and SEPTA’s. Moreover, Plaintiff’s Complaint acknowledges that the Decedent crossed

Objecting Defendants’ property and entered onto the SEPTA-owned tracks of his own accord and

volition. While the Complaint stops short of averring that the Decedent intentionally took his own

life, the allegations against the “Social Media Defendants” makes clear that the Decedent’s

behavior that day was not caused by any alleged act or omission of Objecting Defendants.

       Simply put: Objecting Defendant cannot and should be held liable for an act which

occurred on another party’s property (SEPTA) merely because the Decedent happened to cross

Objecting Defendants’ property in order to get to those tracks. Plaintiff’s Complaint is legally

insufficient to support a valid cause of action against Objecting Defendants.

       Additionally and alternatively, this Court should strike the insufficiently pled allegations

against Objecting Defendants relating to any alleged “attractive nuisance” since (a) the Decedent




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is not alleged to be a minor at the time of the incident and (b) the incident did not allegedly occur

on Objecting Defendants’ property. Finally, Objecting Defendants maintain that, at a minimum,

there is no valid basis for claims of willful, wanton, or reckless conduct, and those claims should

be stricken.

                                              Respectfully submitted,


                                              THOMAS, THOMAS & HAFER LLP

Dated: 01/22/2025                             By:     /s/ Benjamin C. Frommer
                                                      Benjamin C. Frommer, Esquire
                                                      Chelsea A. Williams, Esquire
                                                      Attorney for Defendants
                                                      Bryner Chevrolet, Inc. d/b/a Bryner
                                                      Chevrolet and DBP Partners, Inc.




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THOMAS, THOMAS & HAFER LLP                 Attorney for Defendants,
By: Benjamin C. Frommer, Esquire           Bryner Chevrolet, Inc. d/b/a
Attorney Identification No. 319993         Bryner Chevrolet and
By: Chelsea A. Williams, Esquire           DBP Partners, LP
Attorney Identification No. 329562
1600 JFK Boulevard
Four Penn Center, Suite 1060
Philadelphia, PA 19103
(267) 861-7585 / (267) 861-7599
bfrommer@tthlaw.com / cwilliams@tthlaw.com


 JAMES SULLIVAN, JR., ADMINISTRATOR OF            COURT OF COMMON PLEAS
 THE ESTATE OF JOHN MICHAEL SULLIVAN,             PHILADELPHIA COUNTY

                Plaintiff,                        NO.: 241202765

 v.
                                                  CIVIL ACTION
 META PLATFORMS, INC. F/K/A FACEBOOK,
 INC., FACEBOOK HOLDINGS, LLC,
 FACEBOOK OPERATIONS, LLC, FACEBOOK
 PAYMENTS, INC., FACEBOOK
 TECHNOLOGIES, LLC, INSTAGRAM, LLC,
 SNAP, INC., JOHN DOE INC. 1-5, JOHN DOE
 CORP. 1-5, SOUTHEASTERN PENNSYLVANIA
 TRANSIT AUTHORITY A/K/A SEPTA, ROBERT
 MILSON, BRYNER CHEVROLET, INC. D/B/A
 BRYNER CHEVROLET, DBP PARTNERS, LP,
 DB PETE, INC., JOHN DOE INC. 5-10, JOHN
 KENNEDY FORD OF JENKINTOWN,
 HOPKINS FORD, INC., KENNEDY REAL
 ESTATE ASSOCIATES, LP, KENNEDY REAL
 ESTATE ASSOCIATES MANAGEMENT, LLC
 and JOHN DOE COPR. 5-10,

                Defendants.


                               CERTIFICATE OF SERVICE


        I, Benjamin C. Frommer, Esquire, do hereby certify that a true and correct copy of the

foregoing Preliminary Objections was filed this date via the Philadelphia County Court of




                                                                                    Case ID: 241202765
                                                                                  Control No.: 25015411
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Common Pleas E-Filing System and thereby deemed served on all counsel of record pursuant to

the Pennsylvania Rules of Civil Procedure and Philadelphia County Local Rules.

                                                  THOMAS, THOMAS & HAFER LLP

Dated: 01/22/2025                          By:    /s/ Benjamin C. Frommer
                                                  Benjamin C. Frommer, Esquire
                                                  Attorney for Defendants
                                                  Bryner Chevrolet, Inc. d/b/a Bryner
                                                  Chevrolet and DBP Partners, LP




                                                                                    Case ID: 241202765
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                         EXHIBIT “A”




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                                                                  Control No.: 25015411
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STAMPONE O’BRIEN DILSHEIMER LAW
BY: Kevin P. O’Brien, Esquire                                      Filed and Attested by the
ID No.: 313081                                                    Office of Judicial Records
                                                                      23 DEC 2024 03:17 pm
BY: Tyler Stampone, Esquire                                               L. BREWINGTON
ID No.: 324400
500 Cottman Avenue
Cheltenham, PA 19012
(215)663-0400

DICELLO LEVITT
BY: Diandra Debrosse, Esquire (pro hac vice forthcoming)
       Eli Hare, Esquire (pro hac vice forthcoming)
       Grant Patterson, Esquire (pro hac vice forthcoming)
505 20th Street North, Suite 1500
Birmingham, Alabama 35203
Attorneys for Plaintiff                             THIS IS A MAJOR JURY MATTER

James Sullivan, Jr. Administrator                  COURT OF COMMON PLEAS
of the Estate of John Michael Sullivan             PHILADELPHIA COUNTY
619 Edgley Avenue
Glenside, PA 19038

vs.

META PLATFORMS, INC. f/k/a                         DECEMBER TERM, 2024
FACEBOOK, INC.
1 Hacker Way
Menlo Park, California 94025                       NO.:

AND

FACEBOOK HOLDINGS, LLC
1 Hacker Way
Menlo Park, California 94025

AND

FACEBOOK OPERATIONS, LLC
1 Hacker Way
Menlo Park, California 94025

AND

FACEBOOK PAYMENTS, INC.
1 Hacker Way
Menlo Park, California 94025

AND

                                                                                Case ID: 241202765
                                                                              Control No.: 25015411
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FACEBOOK TECHNOLOGIES, LLC
1 Hacker Way
Menlo Park, California 94025

AND

INSTGRAM, LLC
1 Hacker Way
Menlo Park, California 94025

AND

SNAP, INC.
2772 Donald Douglass Loop North
Santa Monica, CA 90405

AND

JOHN DOE INC. 1-5
A Fictitious Name Designated Pursuant to
The Pennsylvania Rules of Civil Procedure

AND

JOHN DOE CORP 1-5
A Fictitious Name Designated Pursuant to
The Pennsylvania Rules of Civil Procedure

AND

SOUTHEASTERN PENNSYLVANIA
TRANSIT AUTHORITY A/K/A
SEPTA
1234 Market Street
Philadelphia, PA, 19107

AND

ROBERT MILSON
1234 Market Street
Philadelphia, PA, 19107

AND

BRYNER CHEVROLET, INC. d/b/a
BRYNER CHEVROLET
1750 The Fairway
Jenkintown, PA 19046

                                                                            Case ID: 241202765
                                                                          Control No.: 25015411
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AND

DBP PARTNERS, LP
1750 The Fairway
Jenkintown, PA 19046

AND

DB Pete, Inc.,
1750 The Fairway
Jenkintown, PA 19046

AND

JOHN DOE, INC., 5-10
A Fictitious Name Designated Pursuant to
The Pennsylvania Rules of Civil Procedure

AND

JOHN KENNEDY FORD OF JENKINTOWN
1650 The Fairway
Jenkintown, PA 19046

AND

HOPKINS FORD, INC.,
1650 The Fairway
Jenkintown, PA 19046

AND

KENNEDY REAL ESTATE ASSOCIATES, LP
1650 The Fairway
Jenkintown, PA 19046

AND

KENNEDY REAL ESTATE ASSOCIATES
MANAGEMENT, LLC
620 Bustleton Pike
Feasterville Trevose, PA 19053

AND

JOHN DOE CORP., 5-10
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                                PLAINTIFF’S COMPLAINT IN A CIVIL ACTION
                              NOTICE                                                                   AVISO
You have been sued in court. If you wish to defend against the           Le han demandado a usted en la corte. Si usted quiere defenderse de
claims set forth in the following pages, you must take action within     estas demandas expuestas en las paginas siguientes, usted tiene
twenty (20) days after this complaint and notice are served, by          veinte (20) dias de plazo al partir de la fecha de la demanda y la
entering a written appearance person-ally or by attorney and filing in   notificacion. Hace falta asentar una comparencia escrita o en
writing with the court your defense objections to the claims set forth   persona o con un abogado y entregar a la corte en forma escrita sus
against you. You are warned that if you fail to do so the case may       defensas o sus objeciones a las demandas en contra de su persona.
proceed without you and a judgment may be entered against you by         Sea a visado que si usted no se defiende, la corte tomara medidas y
the court without further notice for any money claimed in the            puede continuar la demanda en contra suya sin previo aviso o
complaint or for any other claim or relief requested by the plaintiff.   notificacion. Ademas, la corte puede decidir a favor del demandante
You may lose money or property or other rights important to you.         y requiere que usted cumpla con todas las provisiones de esta
                                                                         demanda. Usted puede pere dinero o sus propiedades u otros
You should take this paper to your lawyer at once. If you do not         derechos importantes para usted.
have a lawyer or cannot afford one, go to or telephone the office set
forth below to find out where you can get legal help.                    Lleva esta demanda a un abogado immediatamente. Si no tiene
                     Philadelphia Bar Association                        abogado o si no tiene el dinero suficiente de pagar tal servicio. Vaya
                           Lawyer Referral                               en persona o llame por telefono a la oficina cuya direccion se
                       and Information Service                           encuentra escrita abajo para averiguar donde se puede conseguir
                         One Reading Center                              asistencia legal.
                       Philadelphia, PA 19107                                                 Asociacion de Licenciados
                           (215) 238-1701                                                             de Filadelfia
                                                                                               Servicio de Referencia e
                                                                                                   Informacion Legal
                                                                                                  One Reading Center
                                                                                                 Filadelfia, PA 19107
                                                                                                    (215) 238-1701




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                                                                                                                            Control No.: 25015411
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James Sullivan, Jr. Administrator                  COURT OF COMMON PLEAS
of the Estate of John Michael Sullivan             PHILADELPHIA COUNTY
619 Edgley Avenue
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Menlo Park, California 94025

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FACEBOOK PAYMENTS, INC.
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AND

                                                                                Case ID: 241202765
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FACEBOOK TECHNOLOGIES, LLC
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SOUTHEASTERN PENNSYLVANIA
TRANSIT AUTHORITY A/K/A
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1234 Market Street
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1234 Market Street
Philadelphia, PA, 19107

AND

BRYNER CHEVROLET, INC. d/b/a
BRYNER CHEVROLET
                                            2
                                                                            Case ID: 241202765
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1750 The Fairway
Jenkintown, PA 19046

AND

DBP PARTNERS, LP
1750 The Fairway
Jenkintown, PA 19046

AND

DB Pete, Inc.,
1750 The Fairway
Jenkintown, PA 19046

AND

JOHN DOE, INC., 5-10
A Fictitious Name Designated Pursuant to
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AND

JOHN KENNEDY FORD OF JENKINTOWN
1650 The Fairway
Jenkintown, PA 19046

AND

HOPKINS FORD, INC.,
1650 The Fairway
Jenkintown, PA 19046

AND

KENNEDY REAL ESTATE ASSOCIATES, LP
1650 The Fairway
Jenkintown, PA 19046

AND

KENNEDY REAL ESTATE ASSOCIATES
MANAGEMENT, LLC
620 Bustleton Pike
Feasterville Trevose, PA 19053

AND
                                            3
                                                                            Case ID: 241202765
                                                                          Control No.: 25015411
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JOHN DOE CORP., 5-10
A Fictitious Name Designated Pursuant to
The Pennsylvania Rules of Civil Procedure




                     PLAINTIFF’S COMPLAINT IN A CIVIL ACTION

       1.      Plaintiff’s decedent John Michael Sullivan was an individual and citizen of the

Commonwealth of Pennsylvania, who suffered a wrongful death on or about January 4, 2023.

       2.      Plaintiff, James Sullivan, Jr., was appointed Administrator of the Estate of John

Michael Sullivan on April 10th, 2023. Said estate has a mailing address of 619 Edgley Ave,

Glenside, PA 19038. A copy of the Letters of Administration are attached hereto as Exhibit “A”.

       3.      Plaintiffs Kathleen Sullivan and James Sullivan, Jr., are adult individuals with a

service address of 619 Edgley Ave, Glenside, PA 19038 and who were at all times relevant hereto

the parents and natural guardians of Plaintiff’s Decedent John Michael Sullivan.

                                THE SOCIAL MEDIA DEFENDANTS

       4.      Defendant, Meta Platforms, Inc., f/k/a Facebook, Inc., is a corporation, partnership,

limited partnership, limited liability partnership, limited liability company, fictitious name and/or

other legal entity organized under the laws of the State of Delaware licensed to transact business

in the Commonwealth of Pennsylvania, with a principal place of business and/or a service address

located at 1 Hacker Way, Menlo Park, California.

       5.      Defendant, Facebook Holdings, LLC is a corporation, partnership, limited

partnership, limited liability partnership, limited liability company, fictitious name and/or other

legal entity organized under the laws of the State of Delaware, with a principal place of business

or a service address located at 1 Hacker Way, Menlo Park, California.

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        6.     Defendant, Facebook Operations, LLC is a corporation, partnership, limited

partnership, limited liability partnership, limited liability company, fictitious name and/or other

legal entity organized under the laws of the State of Delaware, with a principal place of business

or a service address located at 1 Hacker Way, Menlo Park, California.

        7.     Defendant, Facebook Technologies, LLC, is a corporation, partnership, limited

partnership, limited liability partnership, limited liability company, fictitious name and/or other

legal entity organized under the laws of the State of Delaware, with a principal place of business

or a service address located at 1 Hacker Way, Menlo Park, California.

        8.     Defendant, Instagram, LLC is a corporation, partnership, limited partnership,

limited liability partnership, limited liability company, fictitious name and/or other legal entity

organized under the laws of the State of Delaware, with a principal place of business or a service

address located at 1 Hacker Way, Menlo Park, California.

        9.     Defendant, SNAP, Inc., is a corporation, partnership, limited partnership, limited

liability partnership, limited liability company, fictitious name and/or other legal organized under

the laws of the State of Delaware, with a principal place of business and/or a service address

located at 2772 Donald Douglass Loop North, Santa Monica, CA 90405.

        10.    Defendant, JOHN DOE Inc., 1-5 is a corporation, partnership, limited partnership,

limited liability partnership, limited liability company, fictitious name and/or other legal entity

which has not been able to be identified despite significant investigation, but who was in charge

of, or had responsibility for overseeing the design, coding, safety, testing, engineering, warnings,

of the Social Media Applications Instagram and Facebook and is identified pursuant to Pa. R.C.P.

2005.

        11.    Defendant, JOHN DOE Corp 1-5 is a corporation, partnership, limited partnership,

limited liability partnership, limited liability company, fictitious name and/or other legal entity
                                                 5
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which has not been able to be identified despite significant investigation, but who was in charge

of, or had responsibility for overseeing the design, coding, safety, testing, engineering, warnings,

of the Social Media Application SnapChat and is identified pursuant to Pa. R.C.P. 2005.

       12.     These Defendants may be referred to throughout this Complaint as “The Social

Media Defendants.”

                                      THE SEPTA DEFENDANTS

       13.     Defendant, Southeastern Pennsylvania Transit Authority a/k/a SEPTA (and

referred to herein as “SEPTA”) is a municipal corporation, political subdivision and/or other

Commonwealth Agency/entity organized and existing under the laws of the Commonwealth of

Pennsylvania, with its principal place of business or address for service located at 1234 Market

Street, Philadelphia, PA 19107.

       14.     Defendant Robert Milson, is identified as the engineer and/or operator who was in

control of the movement of the train and who was at all times within the course and scope of his

employment with SEPTA which struck the Plaintiff’s Decedent and who has a place of business

or address for service located at 1234 Market Street, Philadelphia, PA 19107.

       15.     These Defendants may be referred to herein as the “SEPTA Defendants.”

                            THE PREMISES LIABILITY DEFENDANTS

       16.     Defendant, Bryner Chevrolet, Inc., d/b/a Bryner Chevrolet, is a corporation,

partnership, limited partnership, limited liability partnership, limited liability company, fictitious

name and/or other legal entity organized under the laws of the Commonwealth of Pennsylvania,

with a principal place of business or a service address located at 1750 The Fairway, Jenkintown,

PA 19046.

       17.     Defendant, DBP Partners, LP, is a corporation, partnership, limited partnership,

limited liability partnership, limited liability company, fictitious name and/or other legal entity
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organized under the laws of the Commonwealth of Pennsylvania, with a principal place of business

or a service address located at 1750 The Fairway, Jenkintown, PA 19046.

       18.     Defendant, DB Pete, Inc., is a corporation, partnership, limited partnership, limited

liability partnership, limited liability company, fictitious name and/or other legal entity organized

under the laws of the Commonwealth of Pennsylvania, with a principal place of business or a

service address located at 1750 The Fairway, Jenkintown, PA 19046.

       19.     Defendant, JOHN DOE Inc., 5-10 is a corporation, partnership, limited partnership,

limited liability partnership, limited liability company, fictitious name and/or other legal entity

which has not been able to be identified despite significant investigation, but who was in charge

of, or had responsibility for overseeing the management, maintenance, operations, security,

cameras and which was otherwise in control of Bryner Chevrolet located at 1750 The Fairway,

Jenkintown, PA 19046 and is identified pursuant to Pa. R.C.P. 2005



       20.     Defendant, John Kennedy Ford of Jenkintown, is a corporation, partnership, limited

partnership, limited liability partnership, limited liability company, fictitious name and/or other

legal entity organized under the laws of the Commonwealth of Pennsylvania, with a principal place

of business or a service address located at 1650 The Fairway, Jenkintown, PA 19046.

       21.     Defendant, Hopkins Ford, Inc., is a corporation, partnership, limited partnership,

limited liability partnership, limited liability company, fictitious name and/or other legal entity

organized under the laws of the Commonwealth of Pennsylvania, with a principal place of business

or a service address located at 1650 The Fairway, Jenkintown, PA 19046.

       22.     Defendant, Kennedy Real Estate Associates, L.P., is a corporation, partnership,

limited partnership, limited liability partnership, limited liability company, fictitious name and/or



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other legal entity organized under the laws of the Commonwealth of Pennsylvania, with a principal

place of business or a service address located at 1650 The Fairway, Jenkintown, PA 19046.

       23.     Defendant, Kennedy Real Estate Management Associates, LLC, is a corporation,

partnership, limited partnership, limited liability partnership, limited liability company, fictitious

name and/or other legal entity organized under the laws of the Commonwealth of Pennsylvania,

with a principal place of business or a service address located at 620 Bustleton Pike, Feasterville

Trevose, PA 19053.

       24.     Defendant, JOHN DOE Corp 5-10 is a corporation, partnership, limited

partnership, limited liability partnership, limited liability company, fictitious name and/or other

legal entity which has not been able to be identified despite significant investigation, but who was

in charge of, or had responsibility for overseeing the management, maintenance, operations,

security, cameras and which was otherwise in control of Kennedy Ford located at 1650 The

Fairway, Jenkintown, PA 19046 and is identified pursuant to Pa. R.C.P. 2005.

       25.     These Defendants may be referred to as the “Premises Liability Defendants.”

       26.     Venue is proper in Philadelphia County as one or more of the Defendants regularly

conduct business in Philadelphia County. In particular, and without limitation to other Defendants,

the Social Media Defendants have millions of users in Philadelphia County.

       27.     Venue is proper in Philadelphia County as SEPTA is a Commonwealth Party and

because the local and principal office of SEPTA is located in Philadelphia County at 1234 Market

Street, Philadelphia, PA 19107.

                            FACTS COMMON TO ALL COUNTS

       28.     Social media applications are products. They are designed, coded, engineered,

manufactured, produced, assembled, and placed into the stream of commerce. They were designed

to be used or consumed by the public as part of the regular business of social media companies,
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including the Social Media Defendants. They are mass-marketed, designed to be used by billions

of consumers, and designed and advertised in such a way to appeal to the general public and, in

particular, adolescents.

        29.    Social media apps are akin to tangible products. When installed or used on devices,

they have a definite appearance and location and are operated by a series of gestures, clicks,

swipes, and user-interface actions. They are both personal, moveable, and downloadable.

        30.    According to Tristen Harris, a former Google Design Ethicist, social media product

designers maximize capitalizing on user attention by “play[ing] your psychological vulnerabilities

(consciously and unconsciously) against you in the race to grab your attention.” 1

        31.    Algorithms play a vital role in the race for attention-using machine learning and

data science to generate content based on the likelihood that the user will want to see the suggested

content. 2

        32.    Social media apps are designed to be addictive.           Based upon their design,

interactions with the apps can release large amounts of dopamine into a user’s brain’s reward

pathway—much like highly-addictive substances. 3



1
        Tristan Harris, How Technology is Hijacking Your Mind – from a Magician and Google
Design Ethicist, MEDIUM (May 18, 2016) https://medium.com/thrive-global/how-technology-
hijacks-peoples-minds-from-a-magician-and-google-s-design-ethicist-56d62ef5edf3),
https://medium.com/thrive-global/how-technology-hijacks-peoples-minds-from-a-magician-and-
google-s-design-ethicist-56d62ef5edf3.
2
      Brent Barnhart, Everything you need to know about social media algorithms, SPROUT
SOCIAL (Mar. 26, 2021), https://sproutsocial.com/insights/social-media-algorithms/.
3
        Jim Zhao, et al., Risk Factors Associated with Social Media Addiction: An Exploratory
Study, FRONTIERS IN PSYCHOLOGY (Apr. 14, 2022), https://www.ncbi.nlm.nih.gov/
pmc/articles/PMC9046602/; Bruce Goldman, Addictive potential of social media, explained,
STANFORD MEDICINE SCOPE (Oct. 29, 2021), https://scopeblog.stanford.edu/2021/10/29/addictive-
potential-of-social-media-explained/; Jena Hilliard, New Study Suggests Excessive Social Media
Use Is Comparable to Drug Addiction, ADDICTION CENTER (Sept. 4, 2019),
https://www.addictioncenter.com/news/2019/09/excessive-social-media-use/; Sherri Gordon,
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         33.    Perhaps most tellingly about the negative effects that social media has on children,

tech moguls do not let their children use social media. 4

         34.    Addiction to social media is by design: the more an individual interacts with an

app, the more money the social media company makes. This is because each interaction with a

user allows more opportunities to monetize that user’s interactions to sell advertising access. 5

         35.    The addictive quality of social media usage is further increased when users engage

in mental rituals like following certain accounts or posting frequently to stay in touch with friends.6

social media increasingly replaces physical human interactions, leading to feelings of isolation,

loneliness, and fear. 7

         36.    Young people are particularly susceptible to social media addiction than older

adults, and young people aged 16 to 25 have the highest rates of social media-related mental

illness. 8



Excessive Social Media Use Comparable to Drug Addiction, VERYWELLMIND (updated July 17,
2019), https://www.verywellmind.com/excessive-social-media-use-4690882.
4
        Kristin Conrad, The Real Reason Tech Moguls Don’t Let Their Kids on Social Media, THE
LIST (Dec. 6, 2021, 9:07 AM EST), https://www.thelist.com/677684/the-real-reason-tech-moguls-
dont-let-their-kids-on-social-media/.
5
        Catherine Price, Trapped—the secret ways social media is built to be addictive (and what
you can do to fight back), BBC SCIENCE FOCUS MAGAZINE (Oct. 29, 2018), https://www.
sciencefocus.com/future-technology/trapped-the-secret-ways-social-media-is-built-to-be-
addictive-and-what-you-can-do-to-fight-back/.
6
      Werner Geyser, The Real Social Media Addiction Stats for 2023, INFLUENCER MARKETING
HUB (updated Dec. 14, 2022), https://influencermarketinghub.com/social-media-addiction-stats/.
7
        Alice G. Walton, Social Media May Make You Feel Socially Isolated: Study, FORBES (Mar.
6, 2017, 2:06 PM EST), https://www.forbes.com/sites/alicegwalton/2017/03/06/social-media-and-
social-isolation-go-hand-in-hand-but-which-comes-first/?sh=23dcc79d1785.
8
         Michael Simon, The Alarming Reality of Social Media Addiction Statistics in 2023,
TECHREPORT (May 16, 2023, 3:02 AM), https://techreport.com/statistics/social-media-addiction-
statistics/.
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       37.     Chris Said, who has a Ph.D. in psychology from Princeton University and who has

worked at both Facebook and Twitter, noted that “[s]ocial media was like a nuclear bomb on teen

social life . . . . I don’t think there’s anything in recent memory, or even distant history, that has

changed the way teens socialize as much as social media.” 9

       38.     Adolescents spend between five to seven hours per day on social media, and

roughly half of them believe that they spend “too much time” on social media. 10

       39.     Social media companies, including the Social Media Defendants, know all of this.

       40.     In a Harvard Business Review article discussing social media addiction, for

example,

               [P]sychologist Nicholas Kardaras explains that the people behind
               Facebook and Instagram not only designed their platforms to be
               wildly addictive but have kept them that way even amid mounting
               evidence that social media overuse has a horrible effect on people’s
               mental and physical well-being. (The same is true for Twitter,
               YouTube, TikTok, and most other social media.) 11

       41.     Social media companies, including the social media Defendants, specifically

designed the platforms to be addictive.

       42.     In fact, Facebook’s founding president, Sean Parker, “said publicly that the

company set out to consume as much user time as possible. He claimed it was ‘exploiting a




9
      Michaeleen Doucleff, The truth about teens, social media and the mental health crisis,
NPR (Apr. 25, 2023, 9:28 AM ET), https://www.npr.org/sections/health-shots/
2023/04/25/1171773181/social-media-teens-mental-health.
10
        Tonya Mosley and Serena McMahon, Social Media Use Linked to Anxiety, Depression
Among       Teens,     New      Study     Finds,      WBUR         (Jan.     9,   2020),
https://www.wbur.org/hereandnow/2020/01/09/social-media-anxiety-depression-teens.
11
       Kelsey Gripenstraw, Our Social Media Addiction, HARVARD BUSINESS REVIEW (Nov.-
Dec. 2022), https://hbr.org/2022/11/our-social-media-addiction.
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vulnerability in human psychology.’ ‘The inventors,’ he said, ‘understood this consciously and

we did it anyway.’” 12

       43.     And social media apps like Snapchat are known as “ranked among the worst social

media for mental health.” 13

       44.     Social Media Defendants have known for a long time that their products—not only

designed to be addictive—are addictive.

       45.     Former Facebook employee Sandy Parakilas, for example, described social media

as “‘very similar to a slot machine,”” after he tried to stop using the service following leaving the

company in 2012. 14      Notably, he said “‘[i]t literally felt like I was quitting cigarettes.’” 15

Furthermore,

               [D]uring his year and five months at Facebook, he said, others had
               also recognized this risk.

               “There was definitely an awareness of the fact that the product was
               habit-forming and addictive,” he said.

               “You have a business model designed to engage you and get you to
               basically suck as much time out of your life as possible and then
               selling that attention to advertisers.” 16




12
        Hilary Andersson, Social media apps are ‘deliberately’ addictive to users, BBC NEWS
(July 4, 2018), HTTPS://WWW.BBC.COM/NEWS/TECHNOLOGY-44640959.
13
         Snapchat Addiction: The Darkside of a Popular Worldwide App, SOLSTICE (Oct. 26, 2017),
https://solsticertc.com/snapchat-addiction-darkside-popular-worldwide-app/    (stating     that
“Snapchat ranked among the worst social media for mental health”). See also Julie Kelly,
Confronting my daughter’s addiction. To Snapchat., HUFFINGTON POST (updated Feb. 2, 2017),
https://www.huffpost.com/entry/confronting-my-daughters_b_9138986.
14
       Andersson, supra note 88.
15
       Id.
16
       Id.
                                                 12
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        46.     The addictive nature of the applications and platforms is especially damaging for

teens and young people. MRI brain studies show that students who use social media more

frequently had increased activation points of their brain, “possibly making them more prone to

peer feedback and hypersensitivity and possibly leading to changes in impulse control and

regulation, according to ABC News chief medical correspondence Dr. Jennifer Ashton.” 17

        47.     Social media usage’s dopamine rush impacts the ventral striatum. Between the

ages of ten and twelve, changes in the brain make social rewards—compliments on clothing or

positive feedback—start to feel more satisfying. Specifically, receptors for oxytocin and dopamine

multiply in a part of the brain called the ventral striatum, making preteens extra sensitive to

attention and admiration from others. 18

        48.     Social media provides a mechanism to experience these “social rewards,” giving

the ventral striatum “a dopamine and oxytocin rush whenever we experience social rewards.”19

And, “[r]ight next door to the ventral striatum lies the ventral pallidum, a region of the brain key

for motivating action. These structures, which lie beneath the more recently evolved cortex, are

older parts of the brain that drive instinctual behaviors.” 20




17
       Haley Yamada and Katie Kindelan, Social media use linked to brain changes in teens,
study finds, ABC NEWS (Jan. 5, 2023, 10:55 AM), https://digital.abcaudio.com/news/social-
media-use-linked-brain-changes-teens-study-finds.
18
        Zara Abrams, Why young brains are especially vulnerable to social media, AMERICAN
PSYCHOLOGICAL ASSOCIATION (updated Aug. 25, 2022), https://www.apa.org/news/apa/2022
/social-media-children-teens.
19
        Id.
20
        Id.
                                                  13
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       49.     Teens continue to seek out approval and acceptance via these “social rewards” on

social media and, if they do not receive them, become isolated and feel lonelier. 21

       50.     Social media usage creates pressure and negative emotions, and can hinder

healthy development of the prefrontal cortex. Social media platforms often promote a culture of

comparison, where teenagers constantly compare themselves to their peers in terms of appearance,

achievements, and social status. This continuous exposure to idealized and curated representations

of others’ lives can lead to feelings of inadequacy, low self-esteem, and increased social anxiety.

The prefrontal cortex, involved in self-reflection and emotional regulation, can be impacted by the

constant pressure and negative emotions resulting from social comparison, potentially hindering

healthy brain development. 22

       51.     Social media usage leads to impulsive decision-making and risk-taking behavior.

The prefrontal cortex is responsible for regulating impulsive behaviors and assessing risks. Social

media platforms often encourage instant gratification, impulsive reactions, and seeking novelty.

This can contribute to a greater inclination towards impulsive decision-making and risk-taking

behavior, as teenagers may engage in potentially harmful activities driven by the desire for social

validation or the need to conform to online trends. Such behavior can negatively impact the




21
         Cory Turner, 10 things to know about how social media affects teens’ brains, NPR (Feb.
16, 2023, 12:01 PM ET), https://www.npr.org/2023/02/16/1157180971/10-things-to-know-about-
how-social-media-affects-teens-brains; Written Testimony of Mitch Prinstein, Ph.D., ABPP, Chief
Science Officer, American Psychological Association, Protective Our Children Online, U.S.
SENATE COMMITTEE ON JUDICIARY (Feb. 14, 2023), https://www.judiciary.senate.gov/imo/
media/doc/2023-02-14%20-%20Testimony%20-%20Prinstein.pdf.
22
         Michelle Achterberg, et al., Longitudinal associations between social media use, mental
well-being and structural brain development across adolescence, DEVELOPMENTAL COGNITIVE
NEUROSCIENCE (Apr. 2022), https://www.sciencedirect.com/science/article/pii/S18789293
22000329?via%3Dihub; Eveline A. Crone and Emily A. Konijn, Media use and brain development
during adolescence, NATURE COMMUNICATIONS (Feb. 21, 2018), https://www.nature.com
/articles/s41467-018-03126-x.
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development of the frontal cortex, which is responsible for evaluating consequences and exercising

self-control. 23

        52.        Social media usage reduces face-to-face interactions, retarding the development

of social skills. Excessive reliance on social media for social interactions can reduce face-to-face

interactions, which are crucial for the development of social skills and emotional intelligence. The

prefrontal cortex is involved in understanding and navigating social dynamics, including

interpreting facial expressions, body language, and non-verbal cues.         Reduced face-to-face

interactions may limit opportunities for teenagers to develop and refine these social skills,

potentially affecting the maturation of the frontal cortex, and possibly leading to the development

of narcissistic tendencies. 24

                     The Known Prevalence of Sextortion on the Defendant’s Social Media
                                          Application Products

        53.        The use of the Social Media Defendant’s products by criminals and predators to

target minors and teenagers is well documented and known. There has never been a larger pool of

victims at the fingertips of these predators that through the use of the Defendant’s products.

        54.        The victims themselves are often addicted and consumed by the product’s use, and

spend upwards of 8 hours a day on these products which makes them easy targets who are available

at all times to be targeted by sexual scammers and extortionists.




23
        Screen Addiction Affects Physical and Mental Health, PREMIER HEALTH (May 11, 2023),
https://www.premierhealth.com/your-health/articles/health-topics/screen-addiction-affects-
physical-and-mental-health.
24
        Anthony Silard, Ph.D., The Role of Social Media in Our Empathy Crisis, PSYCHOLOGY
TODAY (July 11, 2022), https://www.psychologytoday.com/us/blog/the-art-living-free/202207/
the-role-social-media-in-our-empathy-crisis; Yamila Lezcano LHMC, How Social Media Affects
Mental     Health     in    Adolescents,     PSYCHOLOGY      TODAY      (Aug.     25,     2021),
https://www.psychologytoday.com/us/blog/becoming-resilient/202108/how-social-media-
affects-mental-health-in-adolescents.
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       55.     The FBI has warned in reports that “financial sextortion . . . mainly occurs on the

digital platforms where children are already spending their screen time, like social med, gaming

websites, or video chat applications. On these platforms, predators often pose as girls of a similar

age and use fake accounts to target young boys, deceiving them into sending explicit photos or

videos. The predator then threatens to release the compromising materials unless the victim sends

payment.” 25

       56.     This is precisely what happened to the Plaintiff’s Decedent in the instant case.

       57.     Defendants have facilitated and exacerbated the risk of sextortion in the design of

their product and its warnings by implementing defective product features that help sexual

predators connect with adolescents, teenagers, children, and young people such as the Plaintiff’s

Decedent, including the lack of meaningful mechanisms to prevent sham accounts (or warn users

of the existence of such accounts and scams), default-public profiles, matching and recommending

connections between people with no known connection, from high risk areas for criminal activity

such as, in this case, Nigeria, and promoting unsolicited messages and interactions from

individuals from such areas, or individuals with numerous accounts under the same name, IP

address, stock photos, re-used photos and/or images from other numerous other profiles, mass

messages from accounts with these characteristics, particularly messages to diverse and far away

geographic areas including those which are associated with children, adolescent and young people

such as the Plaintiff’s Decedent (in this case college campuses), messages from an unconnected




25
   International Law Enforcement Agencies Issue Joint Warning about global financial sextortion
crisis, FBI (2023), https://www.fbi.gov/news/press-releases/international-law-
enforcementagencies-issue-joint-warning-about-global-financial-sextortion-crisis



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account from such high-risk areas, and other features which easily identify the accounts as sham

accounts indicative of criminal activity, sextortion at the top of that list.

        58.     Further, Defendant’s applications do nothing to prevent, or even warn users about

the dangers or risks of interacting with these accounts, or the dangers of sending nude pictures to

such accounts which are suspicious for fraudulent activity, and provide no (or at least no easily

accessible) design or warning mechanism to report such an account after a scam is initiated.

        59.     These individuals, criminals, and organizations have used the Social Media

Defendants’ applications for this very reason – their design which renders them dangerous and

defective, and the lack of warnings or other reasonable safety measures associated with these

products provide the perfect conduit and opportunity to engage in sextortion and other fraudulent

criminal schemes.

        60.     The practice of sextortion and fraudulent activities is well known to the Defendants.

        61.     Despite knowledge of the pervasiveness of this problem and the existence of mass

numbers of sham accounts being used for sextortion well in advance of the Plaintiff’s Decedent’s

death, it was not until July of 2024, Meta deleted over 60,000 accounts operated by Nigerians

which were linked to financial sextortion scams, and other crimes. 26

        62.     Meta identified these accounts, and disabled them using “a combination of new

technical signals we’ve developed to help identify sextorters. . . the majority of these accounts had

already been detected and disabled by our enforcement systems and this investigation allowed us




26
   https://www.bloomberg.com/news/articles/2024-07-24/meta-removes-63-000-accounts-linked-
to-sextortion-scammers?embedded-checkout=true

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to remove the remaining accounts and understand more about the techniques being used to improve

our automated detection.” 27

         63.     These “technical signals” were economically and technologically feasible and

should have been implemented by the Social Media Defendants well in advance of the Plaintiff’s

Decedent’s sextortion and death.

         64.     In simple terms, the Social Media Defendants have known for years about the

prevalence of sextortion on their social media applications, yet have taken insufficient steps to

design their product with safety features and/or warnings which would protect their users,

including those such as the Plaintiff’s Decedent who was a prototypical victim for these

individuals, a young adult male who was a regular user of the Social Media Defendants’ products.

         65.     There was nothing preventing these measures, design changes, and/or reasonable

warnings from being implemented and integrated into the application products well in advance of

January 4, 2023 as they were both technologically available, feasible, and necessary to make these

products reasonably safe for use by adolescents, teens, children, and young people such as the

Plaintiff’s Decedent.

         66.     Without these measures, and other reasonable design changes and warnings to the

users, the products were unreasonably dangerous and defective under Pennsylvania Law.

         67.     The failure to design their applications with sufficient protections which would

prevent users from engaging in such pervasive and obviously illegal and fraudulent behavior was

a substantial contributing factor and caused the Plaintiff’s Decedent’s wrongful death.




27
     https://about.fb.com/news/2024/07/combating-financial-sextortion-scams-from-nigeria/

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                 Plaintiff’s Decedent’s Use of the Social Media Application Products

       68.     Plaintiff’s Decedent has been a social media user for many years, in particular,

Instagram, and SnapChat.

       69.     He spent much of his spare time interacting online, as described generally above.

       70.     In January of 2023 the Plaintiff’s Decedent was contacted by a third party through

the Instagram app.

       71.     This third party was a scammer from Nigeria who was part of an organized criminal

operation which targeted teenagers – often minors – through mass Instagram messages in an

attempt to get them to “bite” at the bait they sent.

       72.     Upon information and belief, Plaintiff’s Decedent was targeted based upon his

location at a college campus – Kutztown University – where he was a college student.

       73.     This conversation began when the Plaintiff’s Decedent was targeted by an account

from this Nigerian criminal group who were regular “Yahoo Boys”, a loosely affiliated criminal

group who made their living running these sextortion scams primarily through Instagram,

Facebook and Snap.

       74.     This first contact made through Instagram Direct Message was one of thousands of

messages sent out by the sextortionists, a common and well known tactic to the Social Media

Defendants which is highly suspicious for illegal and fraudulent activity.

       75.     The Plaintiff’s Decedent took the “bait” and responded to the scammers under the

pretense that he was conversing with a young woman of his age who was looking to establish a

relationship, and asking him for compromising photos of himself, which he eventually sent.

       76.     After the scam bait was laid on Instagram, the sextortionists suggested moving the

conversation to Snap, where additional compromising photographs of the Plaintiff’s Decedent

were sent.
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       77.     The reason the sextortionists moved the conversation to Snap was because of their

knowledge of the defective and dangerous design of Snap where messages “disappear” and the

lack of sufficient warnings to users such as the Plaintiff’s Decedent that the messages contain

nudity and the application lacks a nudity filter which would warn the user that they are sending

messages to an account in an area suspicious and associated with criminal activity, scams, outside

of the United States, or other warnings to the user of the prevalence of such scams so that the user

may be warned about the information in the Social Media Defendants’ possession that these photos

may be used as part of a scam.

       78.     The conversation immediately turned to extortion upon receipt of the

compromising photos, with the criminals incessantly threatening to release the photos to the

Plaintiff’s Decedent’s college board on Facebook, harm the Plaintiff’s family, and more.

       79.     The Plaintiff’s Decedent attempted to send the money the sextortionists were

requesting, but these attempts were stifled as the transfers were identified as fraudulent, so the

Decedent could only send about $2,800 (which itself was spread across 6 or 7 transactions) and

the sextortionists were asking for more.

       80.     When the Plaintiff’s Decedent could not send them further funds, these criminals

used the Social Media Defendants’ products to threaten Plaintiff’s Decedent and his family,

including threats to physically harm him, physically harm his family, and release the sensitive

photos to Plaintiff’s Decedent’s family, friends and school.

       81.     After these further and unyielding threats from the sextortionists, the Plaintiff’s

Decedent went to a nearby SEPTA train track, where he was killed by a SEPTA train.

       82.     This action was the direct consequence of the horrible pressure, negative emotions,

impulsive decision making, and the impact on the social development, emotions, mind and psyche



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of the Plaintiff’s Decedent as a result of the design of the Social Media Defendants’ algorithms

and addictive intention and design.

       83.     The Plaintiff’s Decedent, a social media user for many years since his early

adolescent age, including specifically Instagram, Facebook, and SnapChat, was deeply and

negatively impacted by the design of these social media applications which were designed to

maximize the amount of time a user is on the application in order to maximize their profits from

each user.

       84.     Were it not for the impact the Social Media Defendants’ application had on the

Plaintiff’s Decedent’s social development, emotions, mind and psyche by way of its addictive

design, and lack of warnings about these impacts, the Plaintiff’s Decedent would not have suffered

the harm he did as set forth herein.

             Plaintiff’s Decedent is Killed on SEPTA Tracks, by a SEPTA Train

       85.     The Plaintiff’s Decedent then went to the train tracks which are owned and operated

by the Defendant, SEPTA where he was killed by a train which was owned, operated and under

the control of SEPTA and their engineer.

       86.     The train was travelling towards Noble Station in Jenkintown, where, upon

information and belief, the train intended to stop just several hundred feet away from where the

Plaintiff’s Decedent was killed, and therefore should have, if the engineer had been operating the

train carefully, been able to sound the horn, or otherwise stop the train in order to avoid striking

the Plaintiff’s Decedent.

       87.     He accessed these tracks by traversing the properties of John Kennedy Ford of

Jenkintown and Bryner Chevrolet of Jenkintown located at 1650 and 1750 The Fairway,

Jenkintown, PA.



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          88.    These properties are owned, managed, controlled maintained by one or more of the

Premises Liability Defendants.

          89.    Because of the circumstances set forth above, the cause of death is in effect, a

homicide.

          90.    Upon information and belief, the tracks were accessible by the Plaintiff’s Decedent

as a result of the failure to maintain and/or fence the area surrounding the tracks.

          91.    This area is known to be accessible by pedestrians as it is in the area of a high

pedestrian area, a shopping center, several businesses, a residential neighborhood, and a commuter

train station.

          92.    Upon information and belief there have been numerous complaints and near misses

related to potential collisions involving SEPTA trains and pedestrians.

          93.    For example, on February 8, 2013, a 20-year-old Ardsley man was struck by a

SEPTA commuter train in this area 28.

          94.    Again, on April 7, 2014, a 20-year-old man from Jenkintown was struck and killed

in and/or about the area of the tracks in this area. 29

          95.    Again, on October 20, 2017, a pedestrian was struck and killed by a SEPTA train

at or near the Jenkintown train station. 30

          96.    As there is a high degree of pedestrian activity in the area of the location where this

incident occurred, Defendant SEPTA knew or should have known about this activity and should

have taken reasonable steps to prevent access to this area of tracks, which they failed to do.



28
     https://www.abingtonpd.org/pedestrian-struck-by-train/
29
     https://www.abingtonpd.org/pedestrian-struck-by-train-2/
30
     https://6abc.com/pennsylvania-news-jenkintown-septa-person-hit-by-train/2553315/

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        97.     In fact, the incident is, upon information and belief, depicted on video of not only

SEPTA, but also one or more of the Premises Liability Defendants who, at the time of the incident

and for a sufficient time leading up to it, had one of their employees, agents, workman, and/or

contractors watching the Plaintiff’s Decedent in real time on surveillance video acting erratically,

in an obviously distressed manner in the area of the train tracks, while still on the Premises Liability

Defendant’s property, yet did nothing while making these observations, did not call the police, go

to the Plaintiff’s Decedent to discuss his purpose for being there in the area of the tracks, or prevent

him from accessing the tracks.

        98.     Further, the engineer in charge of the train had a duty to observe and be cautions of

pedestrians in the area, to signal his horn and to reduce his speed and apply his brakes in order to

avoid posing a harm to pedestrians who were known to be and who were in fact present on and in

the area of the tracks.

        99.     Additionally, the engineer in charge of the train had a duty to refrain from the

negligent, careless, reckless, willful and wanton operation of the train in order to avoid contact

with pedestrians in the area of the train and tracks.

        100.    SEPTA, acting through their agents and/or employees, including their engineer

failed to do so, which caused and/or contributed to the Plaintiff’s Decedent’s wrongful death.

        101.    This Plaintiff’s Decedent’s wrongful death resulted solely from the negligent,

careless, reckless, willful, and/or wanton conduct of the SEPTA Defendants, and/or the negligent,

careless, reckless, and outrageous conduct, and the other liability producing conduct, including but

not limited to the strict liability of the Social Media Defendants acting jointly and/or severally and

was due in no manner whatsoever to any act or failure to act on the part of the Plaintiff.

        102.    As a direct and proximate result of the conduct described above by the Defendants

acting jointly and/or severally, Plaintiff’s decedent John Michael Sullivan died on January 4, 2023.
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          103.   As a direct and proximate result of the conduct described above by the Defendants

acting jointly and/or severally, the Plaintiff’s Decedent suffered great conscious physical pain and

suffering, trauma, mental anguish, embarrassment and humiliation prior to her death and did suffer

consciously for several days prior to her wrongful death.

          104.   As a direct and proximate result of the conduct described above by the Defendants

acting jointly and/or severally, Plaintiff’s Decedent’s daily activities, occupation and usual life’s

pleasures were forever extinguished.

          105.   As a direct and proximate result of the conduct described above by the Defendants

acting jointly and/or severally, Plaintiff’s Decedent’s earnings, earning capacity and employment

opportunities were terminated.

          106.   As a direct and proximate result of the conduct described above by the Defendants

acting jointly and/or severally, the Estate of John Michael Sullivan incurred liability for medical

services, funeral and household expenses.

                                      COUNT I
              JAMES SULLIVAN, JR., ADMINISTRATOR OF THE ESTATE OF JOHN
             MICHAEL SULLIVAN VS. META PLATFORMS, INC., F/K/A FACEBOOK,
              INC., FACEBOOK HOLDINGS, LLC, FACEBOOK OPERATIONS, LLC,
               FACEBOOK PAYMENTS, INC., FACEBOOK TECHNOLOGIES, LLC,
              INSTAGRAM, LLC, SNAP, INC., JOHN DOE, INC., 1-5 AND JOHN DOE
                                       CORP., 1-5
                                     NEGLIGENCE

          107.   Plaintiff incorporates by reference the preceding as if the same were set forth fully

herein.

          108.   The negligence and carelessness of the Social Media Defendants, their agents,

servants, workmen, and/or employees, consists of, but is not limited to, the following:

                 a.    Failure to design, manufacture, fabricate, assemble, sell and install
                       appropriate safety systems on the Defendant’s social media applications;



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        b.   Failure to warn users of these products (i.e., Instagram and Snap) that
             social media is addictive;

        c.   Failure to warn users of these products (i.e., Instagram and Snap) of the
             dangers of contact by unknown users through the direct messaging
             component of the application including sextortion;

        d.   Failure to warn users of these products (i.e., Instagram and Snap) of the
             existence and prevalence of sextortion on their application through the
             direct messaging component of the application;

        e.   Failure to implement “technical signals” to identify sextorters and their
             accounts to prevent these sextorters from opening and operating accounts
             solely for the purpose of conduction illegal sextortion activity;

        f.   Failure to warn users that sextortion accounts had been regularly identified
             and shut down on the application;

        g.   Failure to warn users of the characteristics of a sextortion scam message
             including “highly stylized photos” and “people who exceptionally good
             looking” or who have “never sent you a message before” despite
             knowledge that such account characteristics are associated with sextortion
             activity;

        h.   Failure to conduct sufficient investigation into the creation and operation of
             accounts originated in suspicious locations, including but not limited to
             Nigeria, which had characteristics of fraudulent or illegal accounts such as;
             new users sending mass messages to “many, many” users outside of their
             country or geographic area, “highly stylized photos” and “people who
             exceptionally good looking” or who have “never sent you a message
             before”; have little to no followers, comments on their photos, likes on
             their photos and/or posts; and/or other classic indicators of fraudulent
             account creation;

        i.   Failure to monitor or prevent the creation of accounts with such
             characteristics as addressed above, or to prevent the operation of same;

        j.   Failure to monitor or prevent the creation of, or prevent the operation of
             accounts of individuals, IP addresses, or other characteristics which the
             Defendants knew or should have known had previously been associated
             with account activity which was identified, or should have been identified
             as fraudulent;

        k.   Allowing the creation of numerous and/or countless accounts by
             individuals or groups of individuals which can only be used for fraudulent
             or criminal activity;

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        l.   Otherwise require verification from the account creator and/or operator that
             would ensure the account is being created by a real person for a non-
             criminal and/or fraudulent purpose when creating an account with the
             characteristics set forth above in these sub-paragraphs;

        m.   Failure to design and/or implement warnings before a user is permitted to
             send compromising images, including reminders and/or warnings to users
             that, among other things, the recipient user may not be who they say they
             are; may be a criminal; may use the images for sextortion; may forward the
             images or publish them without your consent and/or knowledge; and that
             the users profile and account should be viewed carefully in case they’re not
             who they say they are;

        n.   Failure to otherwise design and/or implement other reasonable nudity
             protection measures and/or warnings;

        o.   Failure to provide a quick dedicated option for help and/or immediate
             resource to an individual who has been contacted through the application
             with threats to share private images;

        p.   Failure to warn users when receiving messages from accounts with
             characteristics identified herein and with other characteristics suspicious
             for fraudulent/ criminal activity that such accounts may be associated with
             fraudulent activity, originate outside the country and/or from suspicious
             areas;

        q.   Failure to warn users using geofencing of the location of direct messages;

        r.   Failure to reasonably restrict the sharing of nude images;

        s.   Failure to supply and/or post adequate notices or warnings of the risks and
             dangers of the product in the materials which describe the operation and
             use of the products and in the applications themselves;

        t.   Failure to place or install warning notices in an obvious and/or
             conspicuous place in the application;

        u.   Failure to manufacture, fabricate, assemble, sell and distribute products
             with adequate safety materials, manuals, instructions, markings, signs,
             warnings and safety devices;

        v.   Failure to design algorithms to limit addictive engagement;

        w.   Failure to warn of the health effects of use and extended use of the
             application;



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               x.      Failure to implement default protective limits regarding the time and
                       length and frequency of use;

               y.      Failure to implement opt-in restrictions to the length and frequency of use;

               z.      Failure to implement self-limiting tools, including but not limited to
                       session time notifications warnings, or reports;

               aa.     Failure to create a beginning and end to a user’s feed;

               bb.     Failure to implement appropriate geofencing that would warn users when
                       messages were coming from out of the country, or from specific
                       suspicious areas;

               cc.     Distributing defective products to the general public;

               dd.     Advertising a defective product to the general public;

               ee.     Failure to assemble the products so as to prevent injuries to the Plaintiff’s
                       Decedent and other users;

               ff.     Failure to design a product with adequate materials and safety devices;

               gg.     Failure to inspect said products prior to the sale, distribution or purchase
                       of said product.

       109.    Prior to placing these products (i.e., Instagram and Snap) into the stream of

commerce, Defendants knew or should have known with adequate design, inspection and/or

testing that these products (i.e., Instagram and Snap) were in a defective and dangerous condition

and that because of these defects, these products (i.e., Instagram and Snap) could not be used

safely for the purposes for which they were intended. Defendants also knew that continued

offering and use of these products (i.e., Instagram and Snap) would result in further injuries to

persons such as Plaintiff’s Decedent.

       110.    The negligence, carelessness, recklessness and outrageous conduct of the Social

Media Defendants its agents, servants, workmen, and/or employees, as set forth herein was the

proximate and sole cause of the injuries and damages to the Plaintiff’s Decedent and expenses

incurred as set forth above.
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       WHEREFORE, Plaintiff James Sullivan Jr., Administrator of the Estate of John Michael

Sullivan, demands judgment against Defendants, Meta Platforms, Inc., f/k/a Facebook, Inc.,

Facebook Holdings, LLC, Facebook Operations, LLC, Facebooks Payments, Inc., Facebook

Technologies, LLC, Instagram, LLC, SNAP, Inc., John Doe, Inc., 1-5, and John Doe Corp 1-5

jointly and/or severally, in an amount in excess of Fifty Thousand ($50,000.00) Dollars in

compensatory damages, punitive damages, (against the Social Media Defendants only), costs and

such other further relief the court shall deem appropriate.

                               COUNT II
JAMES SULLIVAN, JR., ADMINISTRATOR OF THE ESTATE OF JOHN MICHAEL
 SULLIVAN VS. META PLATFORMS, INC., F/K/A FACEBOOK, INC., FACEBOOK
HOLDINGS, LLC, FACEBOOK OPERATIONS, LLC, FACEBOOK PAYMENTS, INC.,
 FACEBOOK TECHNOLOGIES, LLC, INSTAGRAM, LLC, SNAP, INC., JOHN DOE,
                  INC., 1-5 AND JOHN DOE CORP., 1-5
                           STRICT LIABILITY

       111.    Plaintiff incorporates by reference the preceding as if the same were set forth fully

at length herein.

       112.    At all times relevant hereto, the Defendants’ social media applications, Instagram

and Snap were advertised, marketed, manufactured, designed, fabricated, assembled, sold,

distributed and/or otherwise placed into the stream of commerce by the Social Media Defendants

during and in the ordinary course of their business.

       113.    These social media application products as well as their components (including

their algorithms and any associated warnings) did reach the Plaintiff’s Decedent, an intended

foreseeable user and cause injuries and the wrongful death in a condition substantially unchanged

from that in which they were advertised, marketed, manufactured, designed, fabricated, assembled,

sold, distributed and/or otherwise placed into the stream of commerce.

       114.    The injuries, damages and wrongful death sustained by the Plaintiff’s Decedent as

set forth above, were the direct result of the defective and dangerous conditions existing at the time
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of the advertising, marketing, design, manufacture, fabrication, assembly, sale and/or distribution

by the Social Media Defendants, including without limitation that the social media application

products did not contain an adequate sufficient design protections to prevent individuals such as

the sextortionists from Nigeria from utilizing these applications to widely target victims such as

the Plaintiff’s Decedent and many others with mass automated messages targeted by their age,

location around schools and other vulnerable areas from another country known to be associated

with high degrees of illegal and fraudulent criminal extortion activity and/or otherwise warn users

about these dangers which were known to the Defendants for a sufficient period of time in advance

of the incident involving the Plaintiff’s Decedent.

       115.    Defendants are strictly liable pursuant to Section 402(a) of the Restatement of

Torts, Second as said products were defective and unreasonably dangerous at the time they were

distributed and Defendants failed to warn Plaintiff’s Decedent, and other foreseeable users of the

aforementioned defects and dangers.

       116.    Prior to the incident involving the Plaintiff’s Decedent and/or the use of social

media application products, the Social Media Defendants knew or should have known with

adequate design, inspection and/or testing that the products were in a defective and dangerous

condition and that because of the defects, the products could not be used safely for the purposes

for which they were intended. Defendants also knew that continued offering for use of the products

would result in further injuries to persons such as Plaintiff.

       117.    The social media application products, as advertised, marketed, manufactured,

designed, fabricated, assembled, sold, distributed, and/or otherwise placed into the stream of

commerce by the Social Media Defendants also failed to contain proper warnings and instructions

regarding the use of and all dangers associated with the use and operation of these products.



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        118.    The social media application products were also defective due to inadequate

warnings or instructions because, after the manufacturer knew or should have known of the risk of

injury (including the risk of exposure to the highly pervasive fraudulent criminal activity, scams,

and/or sextortion) to users and/or persons similarly situated as the Plaintiff, Defendants failed to

provide adequate warnings to users and persons subjected to these products (i.e., Instagram and

Snap) as set forth at length above regarding the risks of sextortion for the reasons set forth at length

above and herein, and continued to advertise, market, manufacture, design, fabricate, assemble,

sell, distribute and/or otherwise place into the stream of commerce these products, i.e., Instagram

and Snap.

        119.    The dangers of these products (i.e., Instagram and Snap) that caused and/or

contributed to Plaintiff’s Decedent’s death were unknowable and unacceptable to the average or

ordinary consumer, and therefore they failed to satisfy the Customer Expectation Test.

        120.    A reasonable person would conclude the probability and seriousness of the harms

caused by the defectiveness of these products (i.e., Instagram and Snap) as set forth above,

outweighed the burden or costs of taking precautions, and therefore they failed to satisfy the Risk-

Utility test.

        121.    As a result of the aforementioned defects, and/or other dangerous propensities of

the products, including improper warnings and instructions on these products (i.e., Instagram and

Snap) and in the operations/use manuals, the Plaintiff’s Decedent was caused to sustain severe

injuries, damages and suffer a wrongful death as set forth herein.

        WHEREFORE, Plaintiff James Sullivan Jr., Administrator of the Estate of John Michael

Sullivan, demands judgment against Defendants, Meta Platforms, Inc., f/k/a Facebook, Inc.,

Facebook Holdings, LLC, Facebook Operations, LLC, Facebooks Payments, Inc., Facebook

Technologies, LLC, Instagram, LLC, SNAP, Inc., John Doe, Inc., 1-5, and John Doe Corp 1-5
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jointly and/or severally, in an amount in excess of Fifty Thousand ($50,000.00) Dollars in

compensatory damages, punitive damages, (against the Social Media Defendants only), costs and

such other further relief the court shall deem appropriate.

                              COUNT III
JAMES SULLIVAN, JR., ADMINISTRATOR OF THE ESTATE OF JOHN MICHAEL
 SULLIVAN VS. META PLATFORMS, INC., F/K/A FACEBOOK, INC., FACEBOOK
HOLDINGS, LLC, FACEBOOK OPERATIONS, LLC, FACEBOOK PAYMENTS, INC.,
 FACEBOOK TECHNOLOGIES, LLC, INSTAGRAM, LLC, SNAP, INC., JOHN DOE,
                  INC., 1-5 AND JOHN DOE CORP., 1-5
                       BREACH OF WARRANTY

          122.   Plaintiff incorporates by reference the preceding as if the same were set forth fully

herein.

          123.   The Social Media Defendants expressly and impliedly warranted the product was

safe and fit for the particular purpose for which they were made.

          124.   The Social Media Defendants’ breach of contract/warranty consisted, inter alia, of

selling defective and dangerous products.

          125.   Plaintiff’s Decedent relied on the skill, judgment, representations, and foregoing

implied and express warranties of the Social Media Defendants.                 Said warranties and

representations were false in that the aforementioned these products (i.e., Instagram and Snap)

were not safe; were un-merchantable; and were unfit for the ordinary purpose and uses for which

they were intended and caused Plaintiff’s injuries.

          126.   Prior to the time the these products (i.e., Instagram and Snap) were used by

Plaintiff’s Decedent, the Social Media Defendants had implied warranted to the general public that

said these products (i.e., Instagram and Snap) were of merchantable quality and safe and fit for the

use for which they were intended.

          127.   The general public, Plaintiff’s Decedent are unskilled in the research, manufacture,

design, fabrications, assembly, sale and/or distribution of the aforementioned these products (i.e.,
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Instagram and Snap) and reasonably relied on the skill, judgment and implied warranty of the

Social Media Defendants in using the aforementioned these products (i.e., Instagram and Snap).

          128.   These products (i.e., Instagram and Snap) were neither safe for their intended use

nor of merchantable quality as warranted by the Social Media Defendants, in that they had

dangerous propensities when put to their intended use and would cause severe injuries to the users.

          129.   The aforementioned breach of warranty was the proximate cause of the injuries and

damages sustained by the Plaintiff’s Decedent as set forth herein.

          WHEREFORE, Plaintiff James Sullivan Jr., Administrator of the Estate of John Michael

Sullivan, demands judgment against Defendants, Meta Platforms, Inc., f/k/a Facebook, Inc.,

Facebook Holdings, LLC, Facebook Operations, LLC, Facebooks Payments, Inc., Facebook

Technologies, LLC, Instagram, LLC, SNAP, Inc., John Doe, Inc., 1-5, and John Doe Corp 1-5

jointly and/or severally, in an amount in excess of Fifty Thousand ($50,000.00) Dollars in

compensatory damages, punitive damages, (against the Social Media Defendants only), costs and

such other further relief the court shall deem appropriate.

                              COUNT IV
 JAMES SULLIVAN, JR., ADMINISTRATOR OF THE ESTATE OF JOHN MICHAEL
              SULLIVAN VS. SEPTA AND ROBERT MILSON
     NEGLIGENCE, RECKLESSNESS, AND WILLFUL/WANTON CONDUCT

          130.   Plaintiff reavers and incorporates the preceding paragraphs as though set forth at

length.

          131.   Defendants were aware that these train tracks established an attractive nuisance to

individuals in the area and/or proximity.

          132.   Defendants were aware of the existence of numerous other pedestrian strikes on the

tracks by trains in this vicinity, yet did nothing to obstruct access to the tracks on their property or

safely control the movement of the train despite this knowledge.

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       133.    The negligence, carelessness, recklessness and/or willful/ wanton conduct of

Defendants consisted of, but it not limited to:

               a. Failure to exercise reasonable care to eliminate the danger or otherwise
                  to protect Plaintiff’s Decedent.

               b. failure of its employees, agents, ostensible agents and servants to
                  conduct and operate the train in a safe manner, including traveling at
                  speeds in excess of speed limits in place by law;

               c. failure of its employees, agents, ostensible agents and servants to
                  monitor the safety of pedestrians and train passengers in and around
                  the tracks where this incident occurred;

               d. failure of its employees, agents, ostensible agents and servants to
                  observe pedestrians on the tracks;

               e. failure of its employees, agents, ostensible agents and servants to
                  observe pedestrians on the tracks in a reasonable time;

               f. failure to apply speed limiting devices including but not limited to
                  brakes in sufficient time so as to avoid striking the Plaintiff’s
                  Decedent;

               g. failure to brakes apply speed limiting devices including but not limited
                  to brakes in sufficient time so as to provide the Plaintiff’s Decedent
                  reasonable opportunity to take evasive action and avoid being struck;

               h. failure to slow the train down after its employee(s), agents and/or
                  ostensible agents witnessed Plaintiff’s Decedent on the tracks in the
                  foreground as the train approached the location of the incident;

               i. failure to stop the train in time to avoid striking Plaintiff’s Decedent;

               j. failure to blow the whistle of the train to warn Plaintiff’s Decedent of
                  impending danger;

               k. failure to install any kind of barriers and/or fencing along its tracks in
                  the immediate areas surrounding the tracks where the incident
                  occurred to prevent anticipated pedestrians from entering the tracks;

               l. failure to repair the dangerous condition of the lack of fencing
                  surrounding the tracks in and around the tracks where the incident
                  occurred despite knowledge pedestrians were accessing the train tracks
                  from the locations which lacked fencing;

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        m. failure to post warning signs along the train tracks;

        n. failure to repair holes in fences surrounding the tracks in and around
           the tracks where the incident occurred despite knowledge pedestrians
           were accessing the train tracks from the locations which lacked
           fencing;

        o. failure to install fencing along its tracks in the immediate areas
           surrounding the tracks where the incident occurred to prevent
           anticipated pedestrians from entering the tracks;

        p. creating a dangerous condition;

        q. creating an attractive nuisance;

        r. operating the train at too great of a speed approaching the tracks where
           the incident occurred despite knowledge of the risks of pedestrians on
           the tracks;

        s. failing to exercise ordinary care to avoid injuring others;

        t. failure to properly train its employees, agents, ostensible agents and
           servants, including but not limited to its Engineer and Conductor on
           the risks associated with pedestrians on the tracks;

        u. failure to properly train its employees, agents, ostensible agents and
           servants, including but not limited to its Engineer and Conductor on
           how to safely observe pedestrians on the train tracks;

        v. failure to warn its employees, agents, ostensible agents and servants,
           including but not limited to its Engineer and Conductor of the
           existence of prior complaints or knowledge on behalf of SEPTA of
           pedestrians on the train tracks in the vicinity of the location of the
           incident;

        w. failure to properly train its employees, agents, ostensible agents and
           servants, including but not limited to its Engineer and Conductor on
           how to use horns and/or audio warning devices; and

        x. failure to inspect the condition of the fences in the area of the tracks
           where the incident occurred.




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          41.    The negligence and/or carelessness of the Defendants as set forth herein was a

proximate and sole cause of the injuries and damages to Plaintiff’s Decedent, John Michael

Sullivan and the expenses incurred as set forth above.

          WHEREFORE, Plaintiff James Sullivan Jr., Administrator of the Estate of John Michael

Sullivan, demands judgment against Defendants SEPTA, jointly and/or severally, in an amount in

excess of Fifty Thousand ($50,000.00) Dollars in compensatory damages, costs and such other

further relief the court shall deem appropriate.

                                 COUNT V
 JAMES SULLIVAN, JR., ADMINISTRATOR OF THE ESTATE OF JOHN MICHAEL
  SULLIVAN VS. BRYNER CHEVROLET, INC., D/B/A BRYNER CHEVROLET, DBP
    PARTNERS, LP, DB PETE, INC., JOHN DOE INC., 5-10, KENNEDY FORD OF
  JENKINTOWN, HOPKINS FORD, INC., KENNEDY REAL ESTATE ASSOCIATES,
   LP, KENNEDY REAL ESTATE MANAGEMENT ASSOCIATES, LLC, JOHN DOE
                                CORP., 5-10
       NEGLIGENCE, RECKLESSNESS, AND WILLFUL/WANTON CONDUCT

          134.   Plaintiff reavers and incorporates the preceding paragraphs as though set forth at

length.

          135.   It is alleged and therefore averred that prior to January 4, 2023, Defendants had

actual knowledge of the dangers associated with the proximity of their property and business to

the exposed and unfenced train tracks adjacent to their property.

          136.   Defendants were aware that these train tracks established an attractive nuisance to

individuals in the area and/or proximity.

          137.   Defendants were aware of the existence of numerous other pedestrian strikes on the

tracks by trains yet did nothing to obstruct access to the tracks on their property.

          138.   Defendants were aware of the presence of the Plaintiff’s Decedent on their property

for a sufficient period of time in which they observed him wandering in a distressed fashion in the




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area of the train tracks to take reasonable steps to intervene and prevent him from being struck by

the train.

        139.   The negligence, carelessness, recklessness and/or willful/ wanton conduct of

Defendants consisted of, but it not limited to:

               a. Failure to exercise reasonable care to eliminate the danger or otherwise
                  to protect Plaintiff’s Decedent.

               b. failure of its employees, agents, ostensible agents and servants to
                  monitor the safety of pedestrians in and around the tracks where this
                  incident occurred;

               c. failure of its employees, agents, ostensible agents and servants to
                  observe pedestrians in the area of the train tracks;

               d. failure of its employees, agents, ostensible agents and servants to
                  observe pedestrians in and around the tracks in a reasonable time;

               e. failure to install any kind of barriers and/or fencing along its tracks in
                  the immediate areas surrounding the tracks where the incident
                  occurred to prevent anticipated pedestrians from entering the tracks;

               f. failure to repair the dangerous condition of the lack of fencing
                  surrounding the tracks in and around the tracks where the incident
                  occurred despite knowledge pedestrians were accessing the train tracks
                  from the locations which lacked fencing;

               g. failure to post warning signs along the train tracks;

               h. failure to install fencing along its tracks in the immediate areas
                  surrounding the tracks where the incident occurred to prevent
                  anticipated pedestrians from entering the tracks;

               i. failure to monitor surveillance cameras;

               j. failure to intervene with the Plaintiff’s Decedent;

               k. failure to restrict Plaintiff’s Decedent from accessing the tracks;

               l. failure to remove the Plaintiff’s Decedent from the area of the tracks;

               m. failure to take reasonable steps to protect the Plaintiff’s Decedent from
                  the hazard associated with the unfenced tracks;

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               n. creating a dangerous condition;

               o. creating an attractive nuisance;

               p. observing the Plaintiff’s Decedent on their property, acting nervously,
                  scared, and distressed in the area of the train tracks for a significant
                  period of time before he was struck and failing to intervene, call the
                  police, or make contact with the Plaintiff’s Decedent;

               q. failing to exercise ordinary care to avoid injuring others;

               r. failure to properly train its employees, agents, ostensible agents and
                  servants, including but not limited to its Engineer and Conductor on
                  the risks associated with pedestrians on the tracks;

               s. failure to warn its employees, agents, ostensible agents and servants,
                  of the existence of prior complaints or knowledge of pedestrians on the
                  train tracks in the vicinity of the location of the incident; and

               t. failure to inspect the condition of the fences in the area of the tracks
                  where the incident occurred.


       42.     The negligence and/or carelessness of the Defendants as set forth herein was a

proximate and sole cause of the injuries and damages to Plaintiff’s Decedent, John Michael

Sullivan and the expenses incurred as set forth above.

       WHEREFORE, Plaintiff James Sullivan Jr., Administrator of the Estate of John Michael

Sullivan, demands judgment against Defendants Bryner Chevrolet, Inc., d/b/a Bryner Chevrolet,

DBP Partners, LP., DB Pete Inc., John Doe Inc., 5-10, John Kennedy Ford of Jenkintown, Hopkins

Ford, Inc., Kennedy Real Estate Associates, LP, Kennedy Real Estate Management Associates,

LLC, John Doe Corp 5-10, jointly and/or severally, in an amount in excess of Fifty Thousand

($50,000.00) Dollars in compensatory damages, costs and such other further relief the court shall

deem appropriate.

                              COUNT VI
 JAMES SULLIVAN, JR., ADMINISTRATOR OF THE ESTATE OF JOHN MICHAEL
                    SULLIVAN VS. ALL DEFENDANTS
                          WRONGFUL DEATH
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       50.     Plaintiff reavers and incorporates the preceding paragraphs as though set forth

herein at length.

       51.     Plaintiff brings this action pursuant to the Wrongful Death Act 42 Pa. C.S.A.

Section 8301 and claims all damages recoverable under the Pennsylvania Wrongful Death Act.

       52.     The names and last known addresses of all persons who may be entitled by law to

recover damages, as well as their relationship to Decedent John Michael Sullivan are as follows:

               a.      James Sullivan, Jr., father
                       619 Edgley Avenue
                       Glenside, PA 19038

               b.      Kathleen Sullivan, mother
                       619 Edgley Avenue
                       Glenside, PA 19038

       53.     As a direct and proximate result of the foregoing, the Decedent’s Wrongful Death

beneficiaries have been, continue to be, and will in the future be deprived of his counsel, services,

companionship and society.

       54.     As a direct and proximate result of the Defendants’ liability producing conduct as

set forth above, which is incorporated herein, John Michael Sullivan’s Wrongful Death

beneficiaries suffered, are suffering and will, for an indefinite period of time in the future, suffer

damages, injuries and losses, including but not limited to, a loss of financial support, and the

beneficiaries have been wrongfully deprived of the contributions they would have received from

him, including monies which he would have provided for items such as clothing, food, shelter,

medical care, education and entertainment, recreation and gifts

       55.     As a direct and proximate result of the Defendants’ negligent and/or careless

conduct as set forth above, which is incorporated herein, John Michael Sullivan’s Wrongful Death

beneficiaries have been caused to incur and pay various expenses from medical treatment, hospital

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care, custodial care, nursing care and medications, and funeral and other expenses related to his

death.

         WHEREFORE, Plaintiff James Sullivan Jr., Administrator of the Estate of John Michael

Sullivan, demands judgment against Defendants, Meta Platforms, Inc., f/k/a Facebook, Inc.,

Facebook Holdings, LLC, Facebook Operations, LLC, Facebooks Payments, Inc., Facebook

Technologies, LLC, Instagram, LLC, SNAP, Inc., John Doe, Inc., 1-5 and John Doe Corp., 1-5,

SEPTA, Robert Milson, Bryner Chevrolet, Inc., d/b/a Bryner Chevrolet, DBP Partners, LP., DB

Pete Inc., John Doe Inc., 5-10, John Kennedy Ford of Jenkintown, Hopkins Ford, Inc., Kennedy

Real Estate Associates, LP, Kennedy Real Estate Management Associates, LLC, and John Doe

Corp 5-10, jointly and/or severally, in an amount in excess of Fifty Thousand ($50,000.00) Dollars

in compensatory damages, punitive damages, (against the Social Media Defendants only), costs

and such other further relief the court shall deem appropriate.

                              COUNT VII
 JAMES SULLIVAN, JR., ADMINISTRATOR OF THE ESTATE OF JOHN MICHAEL
                    SULLIVAN VS. ALL DEFENDANTS
                          SURVIVAL ACTION

         56.    Plaintiff reavers and incorporates the preceding paragraphs as though set forth

herein at length.

         57.    Plaintiff brings this action on behalf of the Estate of John Michael Sullivan, by

virtue of the Survival Act, 42 Pa.C.S.A. §8302, and claims all benefits of the Survival Act on

behalf of John Michael Sullivan’s Estate and other persons entitled to recover under law.

         58.    As a direct and proximate result of the Defendants’ liability producing conduct as

set forth above, which is incorporated herein, Plaintiff claims on behalf of the Estate of John

Michael Sullivan, all damages suffered by the Estate by reason of the death of John Michael

Sullivan, including without limit the generality of the following: the severe injuries to John

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Michael Sullivan which resulted in his death; the anxiety, horror, fear of impending death, mental

disturbance, pain, suffering and other tangible losses which John Michael Sullivan suffered prior

to his death, the loss of past, present, and future earning capacity suffered by John Michael Sullivan

from the date of his death until the time in the future he would have lived had he not died as a

result of the injuries he sustained; expenses for medical care, the loss and total limitation and

deprivation of his normal activities until the time of his death.

       WHEREFORE, Plaintiff James Sullivan Jr., Administrator of the Estate of John Michael

Sullivan, demands judgment against Defendants, Meta Platforms, Inc., f/k/a Facebook, Inc.,

Facebook Holdings, LLC, Facebook Operations, LLC, Facebooks Payments, Inc., Facebook

Technologies, LLC, Instagram, LLC, SNAP, Inc., John Doe, Inc., 1-5 and John Doe Corp., 1-5,

SEPTA, Robert Milson, Bryner Chevrolet, Inc., d/b/a Bryner Chevrolet, DBP Partners, LP., DB

Pete Inc., John Doe Inc., 5-10, John Kennedy Ford of Jenkintown, Hopkins Ford, Inc., Kennedy

Real Estate Associates, LP, Kennedy Real Estate Management Associates, LLC, and John Doe

Corp. 5-10, jointly and/or severally, in an amount in excess of Fifty Thousand ($50,000.00) Dollars

in compensatory damages, punitive damages, (against the Social Media Defendants only), costs

and such other further relief the court shall deem appropriate.

                                       Respectfully submitted,

                                       STAMPONE O’BRIEN DILSHEIMER LAW

                                       BY:_______/s/_______________________
                                       KEVIN P. O’BRIEN, ESQUIRE
                                       TYLER STAMPONE, ESQUIRE
                                       Attorneys for Plaintiff


                                       DICELLO LEVITT

                                       BY:_______/s/_______________________
                                       DIANDRA DEBROSSE, ESQUIRE
                                       ELI HARE, ESQUIRE
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                                                               VERIFICATION




                     James Sullivan, Jr., Administrator of the Estate of John Michael Sullivan states that he is the Plaintiff

                     herein, that he is acquainted with the facts set forth in the foregoing pleading, that the same are true

                     and correct to the best of his information, knowledge and belief and that this statement is made subject

                     to the penalties of 18 Pa.C.S.A. Section 4904 relating to unsworn falsifications to authorities.




                                                             James Sullivan, Jr., Administrator of the
                                                             Estate of John Michael Sullivan


                     Dated___________________
                              12/20/2024




                                                                                                           Case ID: 241202765
                                                                                                         Control No.: 25015411
Case 2:25-cv-00456-KBH   Document 1-4   Filed 01/27/25   Page 163 of 172
                            EXHIBIT A




                                                                   Case ID: 241202765
                                                                 Control No.: 25015411
             Case 2:25-cv-00456-KBH    Document 1-4       Filed 01/27/25       Page 164 of 172

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                                                A $5 Convenience fee will be added to the transaction at checkout.
Case Description

 Case ID:      241202765
 Case Caption: ESTATE OF JOHN MICHAEL SULLIVAN ETAL VS META PLATF
 Filing Date:  Monday , December 23rd, 2024
 Court:        MAJOR JURY-COMPLEX
 Location:     CITY HALL
 Jury:         JURY
 Case Type:    PRODUCT LIABILITY
 Status:       WAITING TO LIST CASE MGMT CONF

Related Cases

No related cases were found.

Case Event Schedule

No case events were found.

Case motions

              Motion             Assign/Date     Control No        Date/Received                Judge
PRELIMINARY OBJECTIONS           pending         25015411         27-JAN-2025           COHEN, DENIS P


Case Parties

                                               Expn
    Seq #                             Assoc               Type                      Name
                                               Date
         1                                                ATTORNEY FOR              OBRIEN, KEVIN
                                                          PLAINTIFF                 PATRICK
Address: 500 COTTMAN AVE.                      Aliases: none
         CHELTENHAM PA 19012
         (215)663-0400
         kobrien@stamponelaw.com


         2                                 1              ADMINISTRATOR             SULLIVAN JR.,
                                                          - PLAINTIFF               JAMES
Address: 619 EDGLEY AVENUE                     Aliases: none
         GLENSIDE PA 19038
          Case 2:25-cv-00456-KBH   Document 1-4   Filed 01/27/25   Page 165 of 172
      3                                           DEFENDANT           SNAP INC
Address: 2772 DONALD DOUGLASS             Aliases: none
         LOOP NORT
         SANTA MONICA CA 90405


      4                                           DEFENDANT           DOE 1-5, JOHN
Address: 000                              Aliases: none
         PHILADELPHIA PA 000000


      5                                           DEFENDANT           JOHN DOE CORP 1-
                                                                      5
Address: 000                              Aliases: none
         PHILADELPHIA PA 000000


      6                              28           DEFENDANT           SOUTHEASTERN
                                                                      PENNSYLVANIA
                                                                      TRANSIT
                                                                      AUTHORITY
Address: 1234 MARKET STREET               Aliases: SEPTA
         PHILADELPHIA PA 19107


      7                              28           DEFENDANT           MILSON, ROBERT
Address: 1234 MARKET STREET               Aliases: none
         PHILADELPHIA PA 19107


      8                              26           DEFENDANT           BRYNER
                                                                      CHEVROLET INC
Address: 1750 THE FAIRWAY                 Aliases: BRYNER CHEVROLET
         JENKINTOWN PA 19046


      9                              26           DEFENDANT           DBP PARTNERS LP
Address: 1750 THE FAIRWAY                 Aliases: none
         JENKINTOWN PA 19046


     10                                           DEFENDANT           DB PETE INC
Address: 1750 THE FAIRWAY                 Aliases: none
         JENKINTOWN PA 19046


     11                                           DEFENDANT           JOHN DOE INC 5-10
          Case 2:25-cv-00456-KBH   Document 1-4   Filed 01/27/25   Page 166 of 172
Address: 000                              Aliases: none
         PHILADELPHIA PA 00000


     12                                           DEFENDANT           JOHN KENNEDY
                                                                      FORD OF
                                                                      JENKINTOWN
Address: 1650 THE FAIRWAY                 Aliases: none
         JENKINTOWN PA 19046


     13                               1           PLAINTIFF           SULLIVAN ESTATE
                                                                      OFJOHN MICHAEL
Address: 619 EDGLEY AVENUE                Aliases: none
         GLENSIDE PA 19038


     14                                           DEFENDANT           HOPKINS FORD INC
Address: 1650 THE FAIRWAY                 Aliases: none
         JENKINTOWN PA 19046


     15                                           DEFENDANT           KENNEDY REAL
                                                                      ESTATE
                                                                      ASSOCIATES LP
Address: 1650 THE FAIRWAY                 Aliases: none
         JENKINTOWN PA 19046


     16                                           DEFENDANT           KENNEDY REAL
                                                                      ESTATE
                                                                      ASSOCIATES
                                                                      MANAGEMENT LLC
Address: 620 BUSTLETON PIKE               Aliases: none
         FEASTERVILLE TREVOSE PA
         19053


     17                                           DEFENDANT           JOHN DOE CORP 5-
                                                                      10
Address: 000                              Aliases: none
         PHILADELPHIA PA 00000


     18                                           DEFENDANT           META PLATFORMS
                                                                      INC
Address: 1 HACKER WAY                     Aliases: FACEBOOK INC FKA
         MENLO PARK CA 94025
          Case 2:25-cv-00456-KBH   Document 1-4   Filed 01/27/25   Page 167 of 172


     19                                           DEFENDANT           FACEBOOK
                                                                      HOLDINGS LLC
Address: 1 HACKER WAY                     Aliases: none
         MENLO PARK CA 94025


     20                                           DEFENDANT           FACEBOOK
                                                                      OPERATIONS LLC
Address: 1 HACKER WAY                     Aliases: none
         MENLO PARK CA 94025


     21                                           DEFENDANT           FACEBOOK
                                                                      PAYMENTS INC
Address: 1 HACKER WAY                     Aliases: none
         MENLO PARK CA 94025


     22                                           DEFENDANT           FACEBOOK
                                                                      TECHNOLOGIES
                                                                      LLC
Address: 1 HACKER WAY                     Aliases: none
         MENLO PARK CA 94025


     23                                           DEFENDANT           INSTAGRAM LLC
Address: 1 HACKER WAY                     Aliases: none
         MENLO PARK CA 94025


     24                               1           ATTORNEY FOR        STAMPONE, TYLER
                                                  PLAINTIFF           J
Address: STAMPONE LAW                     Aliases: none
         500 COTTMAN AVE
         CHELTENHAM PA 19012
         (215)663-0400
         TStampone@stamponelaw.com


     25                                           TEAM LEADER         COHEN, DENIS P
Address: 656 CITY HALL                    Aliases: none
         PHILADELPHIA PA 19107


     26                                           ATTORNEY FOR        FROMMER,
                                                  DEFENDANT           BENJAMIN C
            Case 2:25-cv-00456-KBH           Document 1-4         Filed 01/27/25   Page 168 of 172
Address: THOMAS, THOMAS & HAFER                       Aliases: none
         1600 JFK BLVD
         SUITE 1060
         PHILADELPHIA PA 19103
         (215)564-2928
         bfrommer@tthlaw.com


       27                                       26                ATTORNEY FOR        WILLIAMS, CHELSEA
                                                                  DEFENDANT           A
Address: THOMAS, THOMAS & HAFER,                      Aliases: none
         LLP
         4 PENN CENTER, SUITE 1060
         1600 JFK BOULEVARD
         PHILADELPHIA PA 19103
         (267)861-7599
         cwilliams@tthlaw.com


       28                                                         ATTORNEY FOR        NALENCZ, TARA G
                                                                  DEFENDANT
Address: 1234 MARKET STREET, 5TH                      Aliases: none
         FLOOR
         OFFICE OF GENERAL
         COUNSEL
         SEPTA
         PHILADELPHIA PA 19107
         (215)580-7565
         tnalencz@septa.org


Docket Entries

Filing                                                                                          Disposition
                 Docket Type                                   Filing Party
Date/Time                                                                                          Amount
23-DEC-2024 ACTIVE CASE
03:17 PM
      Docket
              E-Filing Number: 2412051470
       Entry:


23-DEC-2024 COMMENCEMENT CIVIL ACTION                          OBRIEN, KEVIN
03:17 PM    JURY                                               PATRICK
 Documents:         Click link(s) to preview/purchase the documents
                 Final Cover


      Docket
              none.
       Entry:
        Case 2:25-cv-00456-KBH           Document 1-4         Filed 01/27/25   Page 169 of 172


23-DEC-2024 COMPLAINT FILED NOTICE GIVEN OBRIEN, KEVIN
03:17 PM                                 PATRICK
Documents:      Click link(s) to preview/purchase the documents
              Sullivan Complaint.pdf


     Docket COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS AFTER
      Entry: SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED.


23-DEC-2024 JURY TRIAL PERFECTED                           OBRIEN, KEVIN
03:17 PM                                                   PATRICK
     Docket
             12 JURORS REQUESTED.
      Entry:


23-DEC-2024 WAITING TO LIST CASE MGMT                      OBRIEN, KEVIN
03:17 PM    CONF                                           PATRICK
     Docket
             none.
      Entry:


31-DEC-2024 AFFIDAVIT OF SERVICE FILED
09:09 AM
Documents:      Click link(s) to preview/purchase the documents
              SEPTA full.pdf


             AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON SOUTHEASTERN
     Docket
             PENNSYLVANIA TRANSIT AUTHORITY BY PERSONAL SERVICE ON 12/30/2024
      Entry:
             FILED.


31-DEC-2024 AFFIDAVIT OF SERVICE FILED
09:10 AM
Documents:      Click link(s) to preview/purchase the documents
              Milson Full aff.pdf


     Docket AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON ROBERT MILSON
      Entry: BY PERSONAL SERVICE ON 12/30/2024 FILED.


09-JAN-2025   AFFIDAVIT OF SERVICE FILED
02:20 PM
Documents:      Click link(s) to preview/purchase the documents
              20250109_140435_006149_Part4.pdf
        Case 2:25-cv-00456-KBH           Document 1-4         Filed 01/27/25   Page 170 of 172
             AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON KENNEDY REAL
     Docket
             ESTATE ASSOCIATES LP BY SHERIFF SERVICE MONTGOMERY ON 01/02/2025
      Entry:
             FILED.


09-JAN-2025   AFFIDAVIT OF SERVICE FILED
02:22 PM
Documents:      Click link(s) to preview/purchase the documents
              20250109_140435_006149_Part5.pdf


     Docket AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON HOPKINS FORD
      Entry: INC BY SHERIFF SERVICE MONTGOMERY ON 01/02/2025 FILED.


09-JAN-2025   AFFIDAVIT OF SERVICE FILED
02:24 PM
Documents:      Click link(s) to preview/purchase the documents
              20250109_140435_006149_Part6.pdf


             AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON JOHN KENNEDY
     Docket
             FORD OF JENKINTOWN BY SHERIFF SERVICE MONTGOMERY ON 01/02/2025
      Entry:
             FILED.


09-JAN-2025   AFFIDAVIT OF SERVICE FILED
02:25 PM
Documents:      Click link(s) to preview/purchase the documents
              20250109_140435_006149_Part7.pdf


     Docket AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON DB PETE INC BY
      Entry: SHERIFF SERVICE MONTGOMERY ON 01/02/2025 FILED.


09-JAN-2025   AFFIDAVIT OF SERVICE FILED
02:27 PM
Documents:      Click link(s) to preview/purchase the documents
              20250109_140435_006149_Part8.pdf


     Docket AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON DBP PARTNERS
      Entry: LP BY SHERIFF SERVICE MONTGOMERY ON 01/02/2025 FILED.


09-JAN-2025   AFFIDAVIT OF SERVICE FILED
02:29 PM
Documents:      Click link(s) to preview/purchase the documents
              20250109_140435_006149_Part9.pdf
        Case 2:25-cv-00456-KBH            Document 1-4         Filed 01/27/25   Page 171 of 172
     Docket AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON BRYNER
      Entry: CHEVROLET INC BY SHERIFF SERVICE MONTGOMERY ON 01/02/2025 FILED.


14-JAN-2025   AFFIDAVIT OF SERVICE FILED
02:58 PM
Documents:      Click link(s) to preview/purchase the documents
              20250114_145424_006170.pdf


             AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON KENNEDY REAL
     Docket
             ESTATE ASSOCIATES MANAGEMENT LLC BY SHERIFF SERVICE BUCKS ON
      Entry:
             01/08/2025 FILED.


16-JAN-2025   AFFIDAVIT OF SERVICE FILED                    OBRIEN, KEVIN
02:18 PM                                                    PATRICK
Documents:       Click link(s) to preview/purchase the documents
              Aff Serv Sullivan.pdf


             AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON META PLATFORMS
             INC, INSTAGRAM LLC, FACEBOOK TECHNOLOGIES LLC, FACEBOOK
     Docket
             PAYMENTS INC, FACEBOOK OPERATIONS LLC AND FACEBOOK HOLDINGS
      Entry:
             LLC BY CERTIFIED MAIL ON 01/04/2025 FILED. (FILED ON BEHALF OF JOHN
             MICHAEL SULLIVAN ESTATE OF AND JAMES SULLIVAN)


21-JAN-2025   ENTRY OF APPEARANCE                           FROMMER,
01:10 PM                                                    BENJAMIN C
Documents:      Click link(s) to preview/purchase the documents
              EOA - BCF and CAW.PDF


     Docket ENTRY OF APPEARANCE OF CHELSEA A WILLIAMS AND BENJAMIN C
      Entry: FROMMER FILED. (FILED ON BEHALF OF BRYNER CHEVROLET INC)


22-JAN-2025   ENTRY OF APPEARANCE                           FROMMER,
05:23 PM                                                    BENJAMIN C
Documents:      Click link(s) to preview/purchase the documents
              Sullivan EOA - BCF and CAW - DBP Partners, LP.pdf


     Docket ENTRY OF APPEARANCE OF CHELSEA A WILLIAMS AND BENJAMIN C
      Entry: FROMMER FILED. (FILED ON BEHALF OF DBP PARTNERS LP)


24-JAN-2025   ENTRY OF APPEARANCE                           NALENCZ, TARA G
02:20 PM
        Case 2:25-cv-00456-KBH           Document 1-4         Filed 01/27/25   Page 172 of 172
Documents:      Click link(s) to preview/purchase the documents
              SEPTA EOA-Sullivan-Estate.pdf


             ENTRY OF APPEARANCE OF TARA G NALENCZ FILED. (FILED ON BEHALF OF
     Docket
             ROBERT MILSON AND SOUTHEASTERN PENNSYLVANIA TRANSIT
      Entry:
             AUTHORITY)


27-JAN-2025   PRELIMINARY OBJECTIONS                       FROMMER,
09:12 AM                                                   BENJAMIN C
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              Sullivan POs w-Exhibit.pdf


             11-25015411 PRELIMINARY OBJECTIONS TO PLAINTIFF'S COMPLAINT FILED.
     Docket
             RESPONSE DATE: 02/18/2025 (FILED ON BEHALF OF DBP PARTNERS LP AND
      Entry:
             BRYNER CHEVROLET INC)




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